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                                                                        UNITED   STATES DISTRICT COURT
                                                                         MIDDLE    DISTRICT OF FLORIDA
                                                                               ORLANDO     DIVISION

                                                                          CASE       NO.:        6:19-cv- -01484- -CEM-LRH


    LOGAN                    BACH                  STEIN,      an individual


                           Plaintiff,      (




                                                                                                              DECLARATION                          OF      SEAN       LI IN
    V.                                                                                                        SUPPORT                OF DEFENDANT                             MOTION
                                                                                                              TO          TRANSFER               OR, IN THE
    DISCORD,                       INC,            , a for-profit           corporation,                      ALTERNATIVE,    DISMISS                                 PLAINTIFF
                                                                                                              COMPLAINT    [D.E.1]
                           Defendant,




                       I, Sean       Li,       (
                                                   declare         as    follows



                      I am         Director            of    Trust        and      Safety       and   Legal        Counsel         for    Discord,         Inc.    ("Discord").         In



  these    roles,             I have               become           familiar        with        Discord'   's business            operations         and      records,       I have



 personal                  knowledge                 of the matters                set    forth below         and     am        competent          to testify thereto


                                     Discord                is incorporated                in the state       of Delaware                 Attached         to this declaration               as



 Exhibit              A     is a true and               correct            copy     of a screenshot                from     the    State    of     Delaware          Department             of



 State     website,                 showing                 that        Discord     is incorporated                in Delaware


                      2.             Discords                 headquarters               are located          in San        Francisco,           California.         Discord      has no


 other     office             locations



                  3
                                    Discord             has        no     physical         office,    store    (
                                                                                                                    warehouse,            or other      physical          location     in



Florida.               Discord         does           not     own          or lease       any     offices,     buildings,           or other        facilities       in    Florida.


                  4,                Discord             has no            Florida        telephone         number          or     local address         listed       on its website          or



in any     directory



              5




                                    Discord            is a software                company           with    no      physical           product     inventory,            and   its


advertising                  and    marketing                 are primarily                 conducted         online.           Discord       does      not       store    inventory        or



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 product                  literature        in Florida


              6
                                     Discord          does     not     have         any     employees           or offices          in Florida


                      7
                                     Discord          is not        registered        to    do     business        in      Florida.



                  8


                                     Discord          does         not employ             any     moderators


              9

                                     Discord          was      able to       identify           the account          associated           with     Plaintiff.


                      10             All     Discord          users        are required           to register         for     Discord'      's services           before      using       the



 platform.                  Plaintiff        signed         up for Discord                on February           21, 2016
                                                                                                                      9
                                                                                                                                   and     completed            a signup          process


 that required                   him        to first enter           his    email         address.



                  11                 He      was      presented            with     a message             that, by registering              for     Discord,           he was         agreeing


to   the Terms                   and        Privacy         Policy,        which         were     linked      to in        the message.            To    complete          the    signup



 process,                 he   had     to    click     the    button        signifying            that he     agreed          to the     Terms          and    Privacy        Policy


                  12                 Attached          to     this declaration               as    Exhibit     Bis          a true and       correct          copy     of Discord's



 current      registration                    page,       which       is essentially              the same         as the one            Plaintiff        would        have      seen    in


 2016


              13                     Attached          to this declaration                   as Exhibits           C-G       are true       and    correct           copies      of



 Discord          's Terms                of Service           from        September              12, 2015     to         the present


              I declare                under         penalty         of perjury           under      the    laws          of the   United         States       of America             that the



foregoing                  is true and             correct     to     the best       of my         knowledge



              Executed                    this      9th      day    of September,                 2019     at San          Francisco,        California.




                                                                                  Sean      Li




                                                                                                     -2


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                         EXHIBIT C
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# Discord Terms of Service

Last modified:   September 12, 2015.

# Introduction and Accepting the Terms

Welcome to Discord!

These Terms of Service (“Terms”), which include and hereby incorporate
the Privacy Policy at [discordapp.com/privacy](/privacy) (“Privacy
Policy”), are a legal agreement between Hammer & Chisel Inc. and its
related companies (the “Company” or "we") and you ("you"). By using or
accessing the Discord application (the “App”) or the website located at
https://discordapp.com (the "Site"), which are collectively referred to
as the “Service,” you agree (i) that you are 13 years of age or older,
(ii) if you are the age of majority in your jurisdiction or over, that
you have read, understood, and accept to be bound by the Terms, and (iii)
if you are between 13 and the age of majority in your jurisdiction, that
your legal guardian has reviewed and agrees to these Terms.

The Company reserves the right, in its sole discretion, to modify or
revise these Terms at any time, and you agree to be bound by such
modifications or revisions. Any such change or modification will be
effective immediately upon posting on the Service, and your continued use
of the Service after any changes or modifications to these Terms are
posted will constitute your acceptance of, and agreement to, such changes
or modifications. If you object to any change or modification, your sole
recourse shall be to cease using the Service.

# Rights to Use the Service

The Service provides a social online and mobile chat platform via the App
and related Internet services. The Service may allow you to participate
in public and private chat rooms and to utilize messaging features to
communicate with other users of the Service. Subject to your compliance
with these Terms, the Company grants you a limited, revocable, non-
exclusive, non-transferable, non-sublicensable license to use and access
the Service, solely for your personal, non-commercial use.

You agree not to (and not to attempt to) (i) use the Service for any use
or purpose other than as expressly permitted by these Terms or (ii) copy,
adapt, modify, prepare derivative works based upon, distribute, license,
sell, transfer, publicly display, publicly perform, transmit, stream,
broadcast or otherwise exploit the Service or any portion of the Service,
except as expressly permitted in these Terms. No licenses or rights are
granted to you by implication or otherwise under any intellectual
property rights owned or controlled by the Company or its licensors,
except for the permissions and rights expressly granted in these Terms.

Company reserves the right to modify or discontinue, temporarily or
permanently, the Service (or any part thereof) with or without notice.
The Company reserves the right to refuse any user access to the Services
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without notice for any reason, including but not limited to a violation
of the Terms.

If you violate these Terms, the Company reserves the right to issue you a
warning regarding the violation or immediately terminate or suspend any
or all Accounts you have created using the Service. You agree that the
Company need not provide you notice before terminating or suspending your
Account(s), but it may do so.

# Fees

We will not charge you a fee to use the basic functionality of the
Service. However, you may have to pay a fee to use certain features of
the Service or to obtain Virtual Currency or Virtual Goods (as defined
and discussed further below).

The price for utilizing these features or obtaining such Virtual Currency
or Virtual Goods will be displayed on the App. Payments of such fees will
be governed by your app store’s terms applicable to in-app purchases.

You are responsible for determining and paying the appropriate government
taxes, fees, and service charges resulting from a transaction occurring
through the Service. We are not responsible for collecting, reporting,
paying, or remitting to you any such taxes, fees, or service charges,
except as may otherwise be required by law.

# Your Account

You are responsible for your log-in credentials and for any activity
resulting from the use of your log-in credentials or other activity on
your account (“Account”) on the Service.

Upon launching the App or the Service, if you do not already have an
Account, you will be prompted to create one by providing a username and
in some cases a password. You may also be required to provide a valid
email address or other information to access or utilize certain
applications or features.

You represent and warrant that the information you provide to us upon
registration and at all other times will be true, accurate, current, and
complete. We reserve the right to reject any username or to terminate
your username or prevent use of a username in our sole discretion, and
without any liability to you. You understand and agree that other users
of the Service may have the same username as you, however, users will be
differentiated by a number identifier that may or may not be visible to
you or other users. You will ensure that your e-mail address is kept
accurate and up-to-date at all times. If we allow you to use the App
without creating an Account (e.g., if we make available a single-session
use feature), any username you select for use in connection with the App
will be available for other users after your session ends.

You are responsible for maintaining the confidentiality of your log-in
credentials and are fully responsible for all activities that occur
through the use of your credentials or otherwise on your Account. You
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agree to notify us immediately if you believe the confidentiality of your
log-in credentials has been compromised or if you suspect unauthorized
use of your Account. You agree that we will not be liable for any loss or
damage arising from unauthorized use of your credentials.

# Communications

We may communicate with you by email or posting notice via the Service.
You agree to receive email from us at the email address you provided to
us for customer service-related purposes.

By using the Service or providing information to us, you agree that we
may communicate with you electronically regarding security, privacy, and
administrative issues relating to your use of the Service.

You may use the Service to send messages to other users of the Service.
You agree that your use of the Service will not include sending
unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
a variety of means to block spammers and abusers from using the Service.
If you believe spam originated from the Service, please email us
immediately at [support@discordapp.com](mailto:support@discordapp.com).

# Intellectual Property Rights

All rights, title and interest in and to all materials that are part of
the Service (including, but not limited to, designs, text, graphics,
pictures, video, information, applications, software, music, sound and
other files, and their selection and arrangement), except for Your Data,
collectively referred to as the "Service Materials", are, as between the
Company and you, owned by the Company and/or its third party licensors.
You acknowledge and agree that you shall not acquire any ownership rights
whatsoever by downloading Service Materials or by purchasing any Virtual
Currency or Virtual Goods (each as defined below).

You agree that you shall not modify, copy, distribute, frame, reproduce,
republish, download, scrape, display, post, transmit, or sell in any form
or by any means, in whole or in part, or otherwise exploit the Service
Materials without our express prior written permission. You acknowledge
that you do not acquire any ownership rights by using the Service or by
accessing any Service Materials posted on the Service by the Company, or
any derivative works thereof. All rights not expressly granted by these
Terms are reserved by the Company and its licensors, and no license is
granted hereunder by estoppel, implication or otherwise.

# Your Data

Any data, text, graphics, photographs and their selection and
arrangement, and any other materials uploaded to the Service by you is
“Your Data.” You represent and warrant that Your Data is original to you
and that you exclusively own the rights to such content, including the
right to grant all of the rights and licenses in these Terms without the
Company incurring any third party obligations or liability arising out of
its exercise of such rights and licenses. All of Your Data is your sole
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responsibility and the Company is not responsible for any material that
you upload, post, or otherwise make available.

By uploading, distributing, transmitting or otherwise using Your Data
with the Services, you grant to us a nonexclusive, transferable, royalty-
free, sublicensable, and worldwide license to use Your Data, subject to
the Company’s Privacy Policy.

The Company does not guarantee the accuracy, quality, or integrity of any
user content posted. By using the Service you acknowledge and accept that
you may be exposed to material you find offensive or objectionable. You
agree that the Company will not under any circumstances be liable for any
user content, including, but not limited to, errors in any user content,
or any loss or damage incurred by use of user content.

The Company reserves the right to remove and permanently delete Your Data
from the Service with or without notice for any reason or no reason. You
may notify the Company of any user content that you believe violates
these Terms, or other inappropriate user behavior, by emailing
support@discordapp.com.

# Virtual Currencies and Virtual Goods

The Service may include an opportunity to obtain virtual currency
("Virtual Currency") or virtual goods ("Virtual Goods") that may require
you to pay a fee using legal tender (that is, "real money") to obtain the
Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
final and is not refundable, exchangeable, transferable, except in the
Company’s or the platform provider’s sole discretion. You may not
purchase, sell, or exchange Virtual Currency outside the Service. Doing
so is a violation of the Terms and may result in termination of your
Account with the Service and/or legal action.

The Company retains the right to modify, manage, control and/or eliminate
Virtual Currency and/or Virtual Goods at its sole discretion. Prices and
availability of Virtual Goods are subject to change without notice. We
shall have no liability to you or any third party for the exercise of
such rights. You shall have a limited, personal, non-transferable, non-
sublicensable permission to use solely within the Service Virtual Goods
and Virtual Currency that you have earned, purchased or otherwise
obtained in a manner authorized by the Company. You have no other right,
title or interest in or to any such Virtual Goods or Virtual Currency
appearing or originating in the Service.

# Rules of Conduct and Usage

The Service provides communication channels such as forums, communities,
or chat areas ("Communication Channels") designed to enable you to
communicate with other Service users. The Company has no obligation to
monitor these communication channels but it may do so in connection with
providing the Service.

The Company may also terminate or suspend your access to any
Communication Channels at any time, without notice, for any reason. You
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acknowledge that any user content (including without limitation chats,
postings, or materials posted by users) on the Communication Channels is
neither endorsed nor controlled by us. The Company will not under any
circumstances be liable for any activity within Communication Channels.
The Company is not responsible for information that you choose to share
on the Communication Channels, or for the actions of other users.

As a condition of your use of the Service, and without limiting your
other obligations under these Terms, you agree to comply with the
restrictions and rules of use set forth in these Terms as well as any
additional restrictions or rules (such as application-specific rules) set
forth in the Service.

As an example, you agree not to use the Service in order to:

- post, upload, transmit or otherwise disseminate information that is
obscene, indecent, vulgar, pornographic, sexual or otherwise
objectionable;

- defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
abuse anyone;

- upload or transmit (or attempt to upload or transmit) files that
contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
files or data, or any other similar software or programs that may damage
the operation of the Service or other users' computers;

- violate the contractual, personal, intellectual property or other
rights of any party including using, uploading, transmitting,
distributing, or otherwise making available any information made
available through the Service in any manner that infringes any copyright,
trademark, patent, trade secret, or other right of any party (including
rights of privacy or publicity);

- attempt to obtain passwords or other private information from other
members;

- improperly use support channels or complaint buttons to make false
reports to us;

- develop, distribute, or publicly inform other members of "auto"
software programs, "macro" software programs or other "cheat utility"
software program or applications in violation of the applicable license
agreements;

- exploit, distribute or publicly inform other members of any game error,
miscue or bug which gives an unintended advantage; or

- violate any applicable laws or regulations, or promote or encourage any
illegal activity including, but not limited to, hacking, cracking or
distribution of counterfeit software, or cheats or hacks for the Service.

These rules of use are not meant to be exhaustive, and we reserve the
right to determine what conduct we consider to be a violation of the
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Terms or improper use of the Service and to take action including
termination of your Account and exclusion from further participation in
the Service.

# Feedback

We appreciate hearing from our users and welcome your comments regarding
the Service. Please be advised, however, that if you send to us any
comments, suggestions or recommendations regarding the Service
(“Feedback“ ) you hereby assign to us all rights, title and interest in
and to the Feedback. Accordingly, your Feedback will not be subject to
any obligation of confidentiality and we will not be liable to you for
any use or disclosure of any Feedback. Also, we will be entitled to
unrestricted use of the Feedback for any purpose whatsoever, commercial
or otherwise, without compensation to you or any other person.

# Third-Party Services

We use third-party services to help us provide the Service, but such use
does not indicate that we endorse them or are responsible or liable for
their actions. In addition, the Service may link to third-party websites
to facilitate its provision of services to you. If you use these links,
you will leave the Service. Some of these third-party websites may use
Service Materials under license from us. We are not responsible for nor
do we endorse these third-party websites or the organizations sponsoring
such third-party websites or their products or services, whether or not
we are affiliated with such third-party websites. You agree that we are
not responsible or liable for any loss or damage of any sort incurred as
a result of any such dealings you may have on or through a third-party
website or as a result of the presence of any third-party advertising on
the Service.

# Termination

You may terminate your Account at any time and for any reason by sending
an email to [support@discordapp.com](mailto:support@discordapp.com).

The Company may terminate your Account and your access to the Service
(or, at the Company's sole option, applicable portions of the Service) at
any time and for any reason. The Company is not required to provide you
with any notice or warning prior to any such termination.

You may, as the result of termination, lose your Account and all
information and data associated therewith, including without limitation
your Virtual Currency and Virtual Goods, as applicable and the Company is
under no obligation to compensate you for any such loss.

# Disclaimer of Warranty

THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
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REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
DISRUPTIONS, OR IMPERFECTIONS.

# Limitation of Liability

IN NO EVENT WILL THE COMPANY, BE LIABLE TO YOU OR TO ANY THIRD PERSON FOR
ANY CONSEQUENTIAL, INCIDENTAL, SPECIAL, PUNITIVE OR OTHER INDIRECT
DAMAGES, INCLUDING ANY LOST PROFITS OR LOST DATA, ARISING FROM YOUR USE
OF THE SERVICE OR OTHER MATERIALS ON, ACCESSED THROUGH OR DOWNLOADED FROM
THE SERVICE, WHETHER BASED ON WARRANTY, CONTRACT, TORT, OR ANY OTHER
LEGAL THEORY, AND WHETHER OR NOT THE COMPANY HAS BEEN ADVISED OF THE
POSSIBILITY OF THESE DAMAGES.

THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE AMOUNT YOU HAVE
PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE (3) MONTHS
IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A CLAIM. YOU
ACKNOWLEDGE AND AGREE THAT IF YOU HAVE NOT PAID ANY AMOUNT TO US DURING
SUCH TIME PERIOD, YOUR SOLE REMEDY (AND THE COMPANY’S EXCLUSIVE
LIABILITY) FOR ANY DISPUTE WITH THE COMPANY IS TO STOP USING THE SERVICE
AND TO TERMINATE YOUR ACCOUNT.

The foregoing exclusions and limitations of liability shall apply to the
fullest extent permitted by law in the applicable jurisdiction. You
specifically acknowledge that the Company shall not be liable for user
content, including without limitation Your Data, or the defamatory,
offensive, or illegal conduct of any third party and that the risk of
harm or damage from the foregoing rests entirely with you.

# Indemnification

You agree to indemnify and hold the Company, harmless from and against
any loss, liability, claim, demand, damages, costs and expenses,
including reasonable attorney's fees, arising out of or in connection
with (i) your use of and access to the Service; (ii) your violation of
any term of these Terms; (iii) your violation of any third party right,
including without limitation any copyright, property, or privacy right or
any third party agreement; or (iv) any of Your Data or information in
your Account or any other information you post or share on or through the
Service. As used in this section, "you" shall include anyone accessing
the Service using your password.

# International Use; Export Controls

Software available in connection with the Service and the transmission of
applicable data, if any, is subject to United States export controls. No
software may be downloaded from the Service or otherwise exported or re-
exported in violation of U.S. export laws. Downloading or using the
software is at your sole risk. Recognizing the global nature of the
Internet, you agree to comply with all local rules and laws regarding
your use of the Service, including as it concerns online conduct and
acceptable content.

# IOS Applications
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The following additional terms and conditions apply with respect to any
App that the Company provides to you designed for use on an Apple iOS-
powered mobile device (an “iOS App”):

- You acknowledge that these Terms are between you and Discord only, and
not with Apple, Inc. (“Apple”).

- Your use of the Company’s iOS App must comply with Apple’s then-current
App Store Terms of Service.

- the Company, and not Apple, are solely responsible for our iOS App and
the Services and Content available thereon. You acknowledge that Apple
has no obligation to provide maintenance and support services with
respect to our iOS App. To the maximum extent permitted by applicable
law, Apple will have no warranty obligation whatsoever with respect to
our iOS App.

- You agree that the Company, and not Apple, are responsible for
addressing any claims by you or any third-party relating to our iOS App
or your possession and/or use of our iOS App.

- You agree that the Company, and not Apple, shall be responsible, to the
extent required by these Terms, for the investigation, defense,
settlement and discharge of any third-party intellectual property
infringement claim related to our iOS App or your possession and use of
our iOS App.

- You represent and warrant that (i) you are not located in a country
that is subject to a U.S. Government embargo, or that has been designated
by the U.S. Government as a “terrorist supporting” country; and (ii) You
are not listed on any U.S. Government list of prohibited or restricted
parties.

- You agree to comply with all applicable third-party terms of agreement
when using our iOS App (e.g., you must not be in violation of your
wireless data service terms of agreement when using the iOS App).

- The parties agree that Apple and Apple’s subsidiaries are third-party
beneficiaries to these Terms as they relate to your license of the
Company’s iOS App. Upon your acceptance of these Terms, Apple will have
the right (and will be deemed to have accepted the right) to enforce
these Terms against you as they relate to your license of the iOS App as
a third-party beneficiary thereof.

# User Disputes

You are solely responsible for your interaction with other users of the
Service and other parties that you come in contact with through the
Service. The Company hereby disclaims any and all liability to you or any
third party relating to your use of the Service. The Company reserves the
right, but has no obligation, to manage disputes between you and other
users of the Service.
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# Copyright

Copyright Complaints: The Company respects the intellectual property of
others, and we ask our users to do the same. If you believe that your
work has been copied in a way that constitutes copyright infringement, or
that your intellectual property rights have been otherwise violated, you
should notify the Company of your infringement claim in accordance with
the procedure set forth below.

The Company will process and investigate notices of alleged infringement
and will take appropriate actions under the Digital Millennium Copyright
Act (“DMCA”) and other applicable intellectual property laws with respect
to any alleged or actual infringement. A notification of claimed
copyright infringement should be emailed to the Company’s Copyright Agent
at ruth@hammerandchisel.com (Subject line: “DMCA Takedown Request”).
You may also contact us by mail at:

Discord, Attention: DMCA Takedown Request, 1901 S Bascom Ave. Suite
1180, Campbell, CA 95080.

To be effective, the notification must be in writing and contain the
following information:

- an electronic or physical signature of the person authorized to act on
behalf of the owner of the copyright or other intellectual property
interest;

- a description of the copyrighted work or other intellectual property
that you claim has been infringed;

- a description of where the material that you claim is infringing is
located on the Service, with enough detail that we may find it on the
Service;

- your address, telephone number, and email address;

- a statement by you that you have a good faith belief that the disputed
use is not authorized by the copyright or intellectual property owner,
its agent, or the law;

- a statement by you, made under penalty of perjury, that the above
information in your Notice is accurate and that you are the copyright or
intellectual property owner or authorized to act on the copyright or
intellectual property owner’s behalf.

Counter-Notice: If you believe that Your Data that was removed (or to
which access was disabled) is not infringing, or that you have the
authorization from the copyright owner, the copyright owner’s agent, or
pursuant to the law, to upload and use the content in Your Data, you may
send a written counter-notice containing the following information to the
Copyright Agent:

- your physical or electronic signature;
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- identification of the content that has been removed or to which access
has been disabled and the location at which the content appeared before
it was removed or disabled;

- a statement that you have a good faith belief that the content was
removed or disabled as a result of mistake or a misidentification of the
content; and

- your name, address, telephone number, and email address, a statement
that you consent to the jurisdiction of the federal court located within
the Northern District of California and a statement that you will accept
service of process from the person who provided notification of the
alleged infringement.

If a counter-notice is received by the Copyright Agent, the Company will
send a copy of the counter-notice to the original complaining party
informing that person that it may replace the removed content or cease
disabling it in 10 business days. Unless the copyright owner files an
action seeking a court order against the content provider, member or
user, the removed content may be replaced, or access to it restored, in
10 to 14 business days or more after receipt of the counter-notice, at
our sole discretion.

Repeat Infringer Policy: In accordance with the DMCA and other
applicable law, the Company has adopted a policy of terminating, in
appropriate circumstances and at the Company's sole discretion, users who
are deemed to be repeat infringers. The Company may also at its sole
discretion limit access to the Service and/or terminate the memberships
of any users who infringe any intellectual property rights of others,
whether or not there is any repeat infringement

# Arbitration

At the Company’s or your election, all disputes, claims, or controversies
arising out of or relating to the Terms of Service or the Service that
are not resolved by mutual agreement may be resolved by binding
arbitration to be conducted before JAMS, or its successor. Unless
otherwise agreed by the parties, arbitration will be held in Santa Clara
County, California before a single arbitrator mutually agreed upon by the
parties, or if the parties cannot mutually agree, a single arbitrator
appointed by JAMS, and will be conducted in accordance with the rules and
regulations promulgated by JAMS unless specifically modified in the Terms
of Service. The arbitration must commence within forty-five (45) days of
the date on which a written demand for arbitration is filed by either
party. The arbitrator’s decision and award will be made and delivered
within sixty (60) days of the conclusion of the arbitration and within
six (6) months of the selection of the arbitrator. The arbitrator will
not have the power to award damages in excess of the limitation on actual
compensatory, direct damages set forth in the Terms of Service and may
not multiply actual damages or award punitive damages or any other
damages that are specifically excluded under the Terms of Service, and
each party hereby irrevocably waives any claim to such damages. The
arbitrator may, in his or her discretion, assess costs and expenses
(including the reasonable legal fees and expenses of the prevailing
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party) against any party to a proceeding. Any party refusing to comply
with an order of the arbitrators will be liable for costs and expenses,
including attorneys’ fees, incurred by the other party in enforcing the
award. Notwithstanding the foregoing, in the case of temporary or
preliminary injunctive relief, any party may proceed in court without
prior arbitration for the purpose of avoiding immediate and irreparable
harm. The provisions of this arbitration section will be enforceable in
any court of competent jurisdiction.

Notwithstanding the provisions of the introductory section above, if the
Company changes this ‘Arbitration’ section after the date you first
accepted these Terms of Service (or accepted any subsequent changes to
these Terms of Service), you may reject any such change by sending us
written notice within 30 days of the date such change became effective,
as indicated in the “Date of Last Revision” date above or in the date of
the Company’s email to you notifying you of such change. By rejecting any
change, you are agreeing that you will arbitrate any dispute between you
and the Company in accordance with the provisions of this section as of
the date you first accepted these Terms of Service (or accepted any
subsequent changes to these Terms of Service).

# General

By visiting or using the Service, you agree that the laws of the United
States and the State of California, without regard to principles of
conflict of laws and regardless of your location, will govern these Terms
and any dispute of any sort that might arise between you and the Company.
Any claim or dispute between you and the Company that arises in whole or
in part from these Terms or your use of the Service that is not subject
to arbitration shall be decided exclusively by a court of competent
jurisdiction located in Santa Clara County, California, and you hereby
consent to, and waive all defenses of lack of personal jurisdiction and
forum non conveniens with respect to venue and jurisdiction in the state
and federal courts of Santa Clara County, California.

EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL
BY JURY OR TO PARTICIPATE IN A CLASS ACTION IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATING TO THESE TERMS OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

You acknowledge that the rights granted and obligations made to the
Company under these Terms are of a unique and irreplaceable nature, the
loss of which may result in immediate and irreparable harm to the Company
for which remedies at law are inadequate. The Company shall therefore be
entitled to seek injunctive or other equitable relief (without the
obligation to post any bond or surety) in the event of any breach or
anticipatory breach by you. You irrevocably waive all rights to seek
injunctive or other equitable relief.

You agree to be responsible for obtaining and maintaining all telephone,
computer hardware mobile devices and other equipment needed for access to
and use of the Service, and all charges related thereto.
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These Terms constitute the entire agreement between you and the Company
with respect to your use of the Service and any other subject matter
hereof and cannot be changed or modified by you except as expressly
posted on the Service by the Company. You also may be subject to
additional terms and conditions that may apply when you use affiliate or
third party services, third party content or third party software. The
failure of the Company to exercise or enforce any right or provision of
these Terms shall not constitute a waiver of such right or provision, and
no waiver by either party of any breach or default hereunder shall be
deemed to be a waiver of any preceding or subsequent breach or default.
If any provision of these Terms is found by a court of competent
jurisdiction to be invalid, the parties nevertheless agree that the court
should endeavor to give effect to the parties' intentions as reflected in
the provision, and the other provisions of these Terms shall remain in
full force and effect. Neither the course of conduct between the parties
nor trade practice will act to modify these Terms. These Terms may not be
assigned by you without the Company's prior written consent, but are
freely assignable by the Company. The section headings used herein are
for convenience only and shall not be given any legal import. Upon the
Company's request, you will furnish the Company with any documentation,
substantiation or releases necessary to verify your compliance with these
Terms. You agree that these Terms will not be construed against the
Company by virtue of having drafted them. You hereby waive any and all
defenses you may have based on the electronic form of these Terms and the
lack of signing by the parties hereto to execute these Terms.

You agree that the provisions of these Terms that by their nature should
survive termination will survive any termination of these Terms.
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                         EXHIBIT D
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# Discord Terms of Service

Last modified:   September 12, 2015.

# Introduction and Accepting the Terms

Welcome to Discord!

These Terms of Service (“Terms”), which include and hereby incorporate
the Privacy Policy at [discordapp.com/privacy](/privacy) (“Privacy
Policy”), are a legal agreement between Discord Inc. and its related
companies (the “Company” or "we") and you ("you"). By using or accessing
the Discord application (the “App”) or the website located at
https://discordapp.com (the "Site"), which are collectively referred to
as the “Service,” you agree (i) that you are 13 years of age or older,
(ii) if you are the age of majority in your jurisdiction or over, that
you have read, understood, and accept to be bound by the Terms, and (iii)
if you are between 13 and the age of majority in your jurisdiction, that
your legal guardian has reviewed and agrees to these Terms.

The Company reserves the right, in its sole discretion, to modify or
revise these Terms at any time, and you agree to be bound by such
modifications or revisions. Any such change or modification will be
effective immediately upon posting on the Service, and your continued use
of the Service after any changes or modifications to these Terms are
posted will constitute your acceptance of, and agreement to, such changes
or modifications. If you object to any change or modification, your sole
recourse shall be to cease using the Service.

# Rights to Use the Service

The Service provides a social online and mobile chat platform via the App
and related Internet services. The Service may allow you to participate
in public and private chat rooms and to utilize messaging features to
communicate with other users of the Service. Subject to your compliance
with these Terms, the Company grants you a limited, revocable, non-
exclusive, non-transferable, non-sublicensable license to use and access
the Service, solely for your personal, non-commercial use.

You agree not to (and not to attempt to) (i) use the Service for any use
or purpose other than as expressly permitted by these Terms or (ii) copy,
adapt, modify, prepare derivative works based upon, distribute, license,
sell, transfer, publicly display, publicly perform, transmit, stream,
broadcast or otherwise exploit the Service or any portion of the Service,
except as expressly permitted in these Terms. No licenses or rights are
granted to you by implication or otherwise under any intellectual
property rights owned or controlled by the Company or its licensors,
except for the permissions and rights expressly granted in these Terms.

Company reserves the right to modify or discontinue, temporarily or
permanently, the Service (or any part thereof) with or without notice.
The Company reserves the right to refuse any user access to the Services
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without notice for any reason, including but not limited to a violation
of the Terms.

If you violate these Terms, the Company reserves the right to issue you a
warning regarding the violation or immediately terminate or suspend any
or all Accounts you have created using the Service. You agree that the
Company need not provide you notice before terminating or suspending your
Account(s), but it may do so.

# Fees

We will not charge you a fee to use the basic functionality of the
Service. However, you may have to pay a fee to use certain features of
the Service or to obtain Virtual Currency or Virtual Goods (as defined
and discussed further below).

The price for utilizing these features or obtaining such Virtual Currency
or Virtual Goods will be displayed on the App. Payments of such fees will
be governed by your app store’s terms applicable to in-app purchases.

You are responsible for determining and paying the appropriate government
taxes, fees, and service charges resulting from a transaction occurring
through the Service. We are not responsible for collecting, reporting,
paying, or remitting to you any such taxes, fees, or service charges,
except as may otherwise be required by law.

# Your Account

You are responsible for your log-in credentials and for any activity
resulting from the use of your log-in credentials or other activity on
your account (“Account”) on the Service.

Upon launching the App or the Service, if you do not already have an
Account, you will be prompted to create one by providing a username and
in some cases a password. You may also be required to provide a valid
email address or other information to access or utilize certain
applications or features.

You represent and warrant that the information you provide to us upon
registration and at all other times will be true, accurate, current, and
complete. We reserve the right to reject any username or to terminate
your username or prevent use of a username in our sole discretion, and
without any liability to you. You understand and agree that other users
of the Service may have the same username as you, however, users will be
differentiated by a number identifier that may or may not be visible to
you or other users. You will ensure that your e-mail address is kept
accurate and up-to-date at all times. If we allow you to use the App
without creating an Account (e.g., if we make available a single-session
use feature), any username you select for use in connection with the App
will be available for other users after your session ends.

You are responsible for maintaining the confidentiality of your log-in
credentials and are fully responsible for all activities that occur
through the use of your credentials or otherwise on your Account. You
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agree to notify us immediately if you believe the confidentiality of your
log-in credentials has been compromised or if you suspect unauthorized
use of your Account. You agree that we will not be liable for any loss or
damage arising from unauthorized use of your credentials.

# Communications

We may communicate with you by email or posting notice via the Service.
You agree to receive email from us at the email address you provided to
us for customer service-related purposes.

By using the Service or providing information to us, you agree that we
may communicate with you electronically regarding security, privacy, and
administrative issues relating to your use of the Service.

You may use the Service to send messages to other users of the Service.
You agree that your use of the Service will not include sending
unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
a variety of means to block spammers and abusers from using the Service.
If you believe spam originated from the Service, please email us
immediately at [support@discordapp.com](mailto:support@discordapp.com).

# Intellectual Property Rights

All rights, title and interest in and to all materials that are part of
the Service (including, but not limited to, designs, text, graphics,
pictures, video, information, applications, software, music, sound and
other files, and their selection and arrangement), except for Your Data,
collectively referred to as the "Service Materials", are, as between the
Company and you, owned by the Company and/or its third party licensors.
You acknowledge and agree that you shall not acquire any ownership rights
whatsoever by downloading Service Materials or by purchasing any Virtual
Currency or Virtual Goods (each as defined below).

You agree that you shall not modify, copy, distribute, frame, reproduce,
republish, download, scrape, display, post, transmit, or sell in any form
or by any means, in whole or in part, or otherwise exploit the Service
Materials without our express prior written permission. You acknowledge
that you do not acquire any ownership rights by using the Service or by
accessing any Service Materials posted on the Service by the Company, or
any derivative works thereof. All rights not expressly granted by these
Terms are reserved by the Company and its licensors, and no license is
granted hereunder by estoppel, implication or otherwise.

# Your Data

Any data, text, graphics, photographs and their selection and
arrangement, and any other materials uploaded to the Service by you is
“Your Data.” You represent and warrant that Your Data is original to you
and that you exclusively own the rights to such content, including the
right to grant all of the rights and licenses in these Terms without the
Company incurring any third party obligations or liability arising out of
its exercise of such rights and licenses. All of Your Data is your sole
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responsibility and the Company is not responsible for any material that
you upload, post, or otherwise make available.

By uploading, distributing, transmitting or otherwise using Your Data
with the Services, you grant to us a nonexclusive, transferable, royalty-
free, sublicensable, and worldwide license to use Your Data, subject to
the Company’s Privacy Policy.

The Company does not guarantee the accuracy, quality, or integrity of any
user content posted. By using the Service you acknowledge and accept that
you may be exposed to material you find offensive or objectionable. You
agree that the Company will not under any circumstances be liable for any
user content, including, but not limited to, errors in any user content,
or any loss or damage incurred by use of user content.

The Company reserves the right to remove and permanently delete Your Data
from the Service with or without notice for any reason or no reason. You
may notify the Company of any user content that you believe violates
these Terms, or other inappropriate user behavior, by emailing
support@discordapp.com.

# Virtual Currencies and Virtual Goods

The Service may include an opportunity to obtain virtual currency
("Virtual Currency") or virtual goods ("Virtual Goods") that may require
you to pay a fee using legal tender (that is, "real money") to obtain the
Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
final and is not refundable, exchangeable, transferable, except in the
Company’s or the platform provider’s sole discretion. You may not
purchase, sell, or exchange Virtual Currency outside the Service. Doing
so is a violation of the Terms and may result in termination of your
Account with the Service and/or legal action.

The Company retains the right to modify, manage, control and/or eliminate
Virtual Currency and/or Virtual Goods at its sole discretion. Prices and
availability of Virtual Goods are subject to change without notice. We
shall have no liability to you or any third party for the exercise of
such rights. You shall have a limited, personal, non-transferable, non-
sublicensable permission to use solely within the Service Virtual Goods
and Virtual Currency that you have earned, purchased or otherwise
obtained in a manner authorized by the Company. You have no other right,
title or interest in or to any such Virtual Goods or Virtual Currency
appearing or originating in the Service.

# Rules of Conduct and Usage

The Service provides communication channels such as forums, communities,
or chat areas ("Communication Channels") designed to enable you to
communicate with other Service users. The Company has no obligation to
monitor these communication channels but it may do so in connection with
providing the Service.

The Company may also terminate or suspend your access to any
Communication Channels at any time, without notice, for any reason. You
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acknowledge that any user content (including without limitation chats,
postings, or materials posted by users) on the Communication Channels is
neither endorsed nor controlled by us. The Company will not under any
circumstances be liable for any activity within Communication Channels.
The Company is not responsible for information that you choose to share
on the Communication Channels, or for the actions of other users.

As a condition of your use of the Service, and without limiting your
other obligations under these Terms, you agree to comply with the
restrictions and rules of use set forth in these Terms as well as any
additional restrictions or rules (such as application-specific rules) set
forth in the Service.

As an example, you agree not to use the Service in order to:

- post, upload, transmit or otherwise disseminate information that is
obscene, indecent, vulgar, pornographic, sexual or otherwise
objectionable;

- defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
abuse anyone;

- upload or transmit (or attempt to upload or transmit) files that
contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
files or data, or any other similar software or programs that may damage
the operation of the Service or other users' computers;

- violate the contractual, personal, intellectual property or other
rights of any party including using, uploading, transmitting,
distributing, or otherwise making available any information made
available through the Service in any manner that infringes any copyright,
trademark, patent, trade secret, or other right of any party (including
rights of privacy or publicity);

- attempt to obtain passwords or other private information from other
members;

- improperly use support channels or complaint buttons to make false
reports to us;

- develop, distribute, or publicly inform other members of "auto"
software programs, "macro" software programs or other "cheat utility"
software program or applications in violation of the applicable license
agreements;

- exploit, distribute or publicly inform other members of any game error,
miscue or bug which gives an unintended advantage; or

- violate any applicable laws or regulations, or promote or encourage any
illegal activity including, but not limited to, hacking, cracking or
distribution of counterfeit software, or cheats or hacks for the Service.

These rules of use are not meant to be exhaustive, and we reserve the
right to determine what conduct we consider to be a violation of the
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Terms or improper use of the Service and to take action including
termination of your Account and exclusion from further participation in
the Service.

# Feedback

We appreciate hearing from our users and welcome your comments regarding
the Service. Please be advised, however, that if you send to us any
comments, suggestions or recommendations regarding the Service
(“Feedback“ ) you hereby assign to us all rights, title and interest in
and to the Feedback. Accordingly, your Feedback will not be subject to
any obligation of confidentiality and we will not be liable to you for
any use or disclosure of any Feedback. Also, we will be entitled to
unrestricted use of the Feedback for any purpose whatsoever, commercial
or otherwise, without compensation to you or any other person.

# Third-Party Services

We use third-party services to help us provide the Service, but such use
does not indicate that we endorse them or are responsible or liable for
their actions. In addition, the Service may link to third-party websites
to facilitate its provision of services to you. If you use these links,
you will leave the Service. Some of these third-party websites may use
Service Materials under license from us. We are not responsible for nor
do we endorse these third-party websites or the organizations sponsoring
such third-party websites or their products or services, whether or not
we are affiliated with such third-party websites. You agree that we are
not responsible or liable for any loss or damage of any sort incurred as
a result of any such dealings you may have on or through a third-party
website or as a result of the presence of any third-party advertising on
the Service.

# Termination

You may terminate your Account at any time and for any reason by sending
an email to [support@discordapp.com](mailto:support@discordapp.com).

The Company may terminate your Account and your access to the Service
(or, at the Company's sole option, applicable portions of the Service) at
any time and for any reason. The Company is not required to provide you
with any notice or warning prior to any such termination.

You may, as the result of termination, lose your Account and all
information and data associated therewith, including without limitation
your Virtual Currency and Virtual Goods, as applicable and the Company is
under no obligation to compensate you for any such loss.

# Disclaimer of Warranty

THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
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REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
DISRUPTIONS, OR IMPERFECTIONS.

# Limitation of Liability

IN NO EVENT WILL THE COMPANY, BE LIABLE TO YOU OR TO ANY THIRD PERSON FOR
ANY CONSEQUENTIAL, INCIDENTAL, SPECIAL, PUNITIVE OR OTHER INDIRECT
DAMAGES, INCLUDING ANY LOST PROFITS OR LOST DATA, ARISING FROM YOUR USE
OF THE SERVICE OR OTHER MATERIALS ON, ACCESSED THROUGH OR DOWNLOADED FROM
THE SERVICE, WHETHER BASED ON WARRANTY, CONTRACT, TORT, OR ANY OTHER
LEGAL THEORY, AND WHETHER OR NOT THE COMPANY HAS BEEN ADVISED OF THE
POSSIBILITY OF THESE DAMAGES.

THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE AMOUNT YOU HAVE
PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE (3) MONTHS
IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A CLAIM. YOU
ACKNOWLEDGE AND AGREE THAT IF YOU HAVE NOT PAID ANY AMOUNT TO US DURING
SUCH TIME PERIOD, YOUR SOLE REMEDY (AND THE COMPANY’S EXCLUSIVE
LIABILITY) FOR ANY DISPUTE WITH THE COMPANY IS TO STOP USING THE SERVICE
AND TO TERMINATE YOUR ACCOUNT.

The foregoing exclusions and limitations of liability shall apply to the
fullest extent permitted by law in the applicable jurisdiction. You
specifically acknowledge that the Company shall not be liable for user
content, including without limitation Your Data, or the defamatory,
offensive, or illegal conduct of any third party and that the risk of
harm or damage from the foregoing rests entirely with you.

# Indemnification

You agree to indemnify and hold the Company, harmless from and against
any loss, liability, claim, demand, damages, costs and expenses,
including reasonable attorney's fees, arising out of or in connection
with (i) your use of and access to the Service; (ii) your violation of
any term of these Terms; (iii) your violation of any third party right,
including without limitation any copyright, property, or privacy right or
any third party agreement; or (iv) any of Your Data or information in
your Account or any other information you post or share on or through the
Service. As used in this section, "you" shall include anyone accessing
the Service using your password.

# International Use; Export Controls

Software available in connection with the Service and the transmission of
applicable data, if any, is subject to United States export controls. No
software may be downloaded from the Service or otherwise exported or re-
exported in violation of U.S. export laws. Downloading or using the
software is at your sole risk. Recognizing the global nature of the
Internet, you agree to comply with all local rules and laws regarding
your use of the Service, including as it concerns online conduct and
acceptable content.

# IOS Applications
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The following additional terms and conditions apply with respect to any
App that the Company provides to you designed for use on an Apple iOS-
powered mobile device (an “iOS App”):

- You acknowledge that these Terms are between you and Discord only, and
not with Apple, Inc. (“Apple”).

- Your use of the Company’s iOS App must comply with Apple’s then-current
App Store Terms of Service.

- the Company, and not Apple, are solely responsible for our iOS App and
the Services and Content available thereon. You acknowledge that Apple
has no obligation to provide maintenance and support services with
respect to our iOS App. To the maximum extent permitted by applicable
law, Apple will have no warranty obligation whatsoever with respect to
our iOS App.

- You agree that the Company, and not Apple, are responsible for
addressing any claims by you or any third-party relating to our iOS App
or your possession and/or use of our iOS App.

- You agree that the Company, and not Apple, shall be responsible, to the
extent required by these Terms, for the investigation, defense,
settlement and discharge of any third-party intellectual property
infringement claim related to our iOS App or your possession and use of
our iOS App.

- You represent and warrant that (i) you are not located in a country
that is subject to a U.S. Government embargo, or that has been designated
by the U.S. Government as a “terrorist supporting” country; and (ii) You
are not listed on any U.S. Government list of prohibited or restricted
parties.

- You agree to comply with all applicable third-party terms of agreement
when using our iOS App (e.g., you must not be in violation of your
wireless data service terms of agreement when using the iOS App).

- The parties agree that Apple and Apple’s subsidiaries are third-party
beneficiaries to these Terms as they relate to your license of the
Company’s iOS App. Upon your acceptance of these Terms, Apple will have
the right (and will be deemed to have accepted the right) to enforce
these Terms against you as they relate to your license of the iOS App as
a third-party beneficiary thereof.

# User Disputes

You are solely responsible for your interaction with other users of the
Service and other parties that you come in contact with through the
Service. The Company hereby disclaims any and all liability to you or any
third party relating to your use of the Service. The Company reserves the
right, but has no obligation, to manage disputes between you and other
users of the Service.
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# Copyright

Copyright Complaints: The Company respects the intellectual property of
others, and we ask our users to do the same. If you believe that your
work has been copied in a way that constitutes copyright infringement, or
that your intellectual property rights have been otherwise violated, you
should notify the Company of your infringement claim in accordance with
the procedure set forth below.

The Company will process and investigate notices of alleged infringement
and will take appropriate actions under the Digital Millennium Copyright
Act (“DMCA”) and other applicable intellectual property laws with respect
to any alleged or actual infringement. A notification of claimed
copyright infringement should be emailed to the Company’s Copyright Agent
at abuse@discordapp.com (Subject line: “DMCA Takedown Request”). You
may also contact us by mail at:

Discord, Attention: DMCA Takedown Request, 1901 S Bascom Ave. Suite
1180, Campbell, CA 95080.

To be effective, the notification must be in writing and contain the
following information:

- an electronic or physical signature of the person authorized to act on
behalf of the owner of the copyright or other intellectual property
interest;

- a description of the copyrighted work or other intellectual property
that you claim has been infringed;

- a description of where the material that you claim is infringing is
located on the Service, with enough detail that we may find it on the
Service;

- your address, telephone number, and email address;

- a statement by you that you have a good faith belief that the disputed
use is not authorized by the copyright or intellectual property owner,
its agent, or the law;

- a statement by you, made under penalty of perjury, that the above
information in your Notice is accurate and that you are the copyright or
intellectual property owner or authorized to act on the copyright or
intellectual property owner’s behalf.

Counter-Notice: If you believe that Your Data that was removed (or to
which access was disabled) is not infringing, or that you have the
authorization from the copyright owner, the copyright owner’s agent, or
pursuant to the law, to upload and use the content in Your Data, you may
send a written counter-notice containing the following information to the
Copyright Agent:

- your physical or electronic signature;
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- identification of the content that has been removed or to which access
has been disabled and the location at which the content appeared before
it was removed or disabled;

- a statement that you have a good faith belief that the content was
removed or disabled as a result of mistake or a misidentification of the
content; and

- your name, address, telephone number, and email address, a statement
that you consent to the jurisdiction of the federal court located within
the Northern District of California and a statement that you will accept
service of process from the person who provided notification of the
alleged infringement.

If a counter-notice is received by the Copyright Agent, the Company will
send a copy of the counter-notice to the original complaining party
informing that person that it may replace the removed content or cease
disabling it in 10 business days. Unless the copyright owner files an
action seeking a court order against the content provider, member or
user, the removed content may be replaced, or access to it restored, in
10 to 14 business days or more after receipt of the counter-notice, at
our sole discretion.

Repeat Infringer Policy: In accordance with the DMCA and other
applicable law, the Company has adopted a policy of terminating, in
appropriate circumstances and at the Company's sole discretion, users who
are deemed to be repeat infringers. The Company may also at its sole
discretion limit access to the Service and/or terminate the memberships
of any users who infringe any intellectual property rights of others,
whether or not there is any repeat infringement

# Arbitration

At the Company’s or your election, all disputes, claims, or controversies
arising out of or relating to the Terms of Service or the Service that
are not resolved by mutual agreement may be resolved by binding
arbitration to be conducted before JAMS, or its successor. Unless
otherwise agreed by the parties, arbitration will be held in Santa Clara
County, California before a single arbitrator mutually agreed upon by the
parties, or if the parties cannot mutually agree, a single arbitrator
appointed by JAMS, and will be conducted in accordance with the rules and
regulations promulgated by JAMS unless specifically modified in the Terms
of Service. The arbitration must commence within forty-five (45) days of
the date on which a written demand for arbitration is filed by either
party. The arbitrator’s decision and award will be made and delivered
within sixty (60) days of the conclusion of the arbitration and within
six (6) months of the selection of the arbitrator. The arbitrator will
not have the power to award damages in excess of the limitation on actual
compensatory, direct damages set forth in the Terms of Service and may
not multiply actual damages or award punitive damages or any other
damages that are specifically excluded under the Terms of Service, and
each party hereby irrevocably waives any claim to such damages. The
arbitrator may, in his or her discretion, assess costs and expenses
(including the reasonable legal fees and expenses of the prevailing
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party) against any party to a proceeding. Any party refusing to comply
with an order of the arbitrators will be liable for costs and expenses,
including attorneys’ fees, incurred by the other party in enforcing the
award. Notwithstanding the foregoing, in the case of temporary or
preliminary injunctive relief, any party may proceed in court without
prior arbitration for the purpose of avoiding immediate and irreparable
harm. The provisions of this arbitration section will be enforceable in
any court of competent jurisdiction.

Notwithstanding the provisions of the introductory section above, if the
Company changes this ‘Arbitration’ section after the date you first
accepted these Terms of Service (or accepted any subsequent changes to
these Terms of Service), you may reject any such change by sending us
written notice within 30 days of the date such change became effective,
as indicated in the “Date of Last Revision” date above or in the date of
the Company’s email to you notifying you of such change. By rejecting any
change, you are agreeing that you will arbitrate any dispute between you
and the Company in accordance with the provisions of this section as of
the date you first accepted these Terms of Service (or accepted any
subsequent changes to these Terms of Service).

# General

By visiting or using the Service, you agree that the laws of the United
States and the State of California, without regard to principles of
conflict of laws and regardless of your location, will govern these Terms
and any dispute of any sort that might arise between you and the Company.
Any claim or dispute between you and the Company that arises in whole or
in part from these Terms or your use of the Service that is not subject
to arbitration shall be decided exclusively by a court of competent
jurisdiction located in Santa Clara County, California, and you hereby
consent to, and waive all defenses of lack of personal jurisdiction and
forum non conveniens with respect to venue and jurisdiction in the state
and federal courts of Santa Clara County, California.

EACH OF THE PARTIES HERETO IRREVOCABLY WAIVES ANY AND ALL RIGHT TO TRIAL
BY JURY OR TO PARTICIPATE IN A CLASS ACTION IN ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATING TO THESE TERMS OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

You acknowledge that the rights granted and obligations made to the
Company under these Terms are of a unique and irreplaceable nature, the
loss of which may result in immediate and irreparable harm to the Company
for which remedies at law are inadequate. The Company shall therefore be
entitled to seek injunctive or other equitable relief (without the
obligation to post any bond or surety) in the event of any breach or
anticipatory breach by you. You irrevocably waive all rights to seek
injunctive or other equitable relief.

You agree to be responsible for obtaining and maintaining all telephone,
computer hardware mobile devices and other equipment needed for access to
and use of the Service, and all charges related thereto.
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These Terms constitute the entire agreement between you and the Company
with respect to your use of the Service and any other subject matter
hereof and cannot be changed or modified by you except as expressly
posted on the Service by the Company. You also may be subject to
additional terms and conditions that may apply when you use affiliate or
third party services, third party content or third party software. The
failure of the Company to exercise or enforce any right or provision of
these Terms shall not constitute a waiver of such right or provision, and
no waiver by either party of any breach or default hereunder shall be
deemed to be a waiver of any preceding or subsequent breach or default.
If any provision of these Terms is found by a court of competent
jurisdiction to be invalid, the parties nevertheless agree that the court
should endeavor to give effect to the parties' intentions as reflected in
the provision, and the other provisions of these Terms shall remain in
full force and effect. Neither the course of conduct between the parties
nor trade practice will act to modify these Terms. These Terms may not be
assigned by you without the Company's prior written consent, but are
freely assignable by the Company. The section headings used herein are
for convenience only and shall not be given any legal import. Upon the
Company's request, you will furnish the Company with any documentation,
substantiation or releases necessary to verify your compliance with these
Terms. You agree that these Terms will not be construed against the
Company by virtue of having drafted them. You hereby waive any and all
defenses you may have based on the electronic form of these Terms and the
lack of signing by the parties hereto to execute these Terms.

You agree that the provisions of these Terms that by their nature should
survive termination will survive any termination of these Terms.
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                         EXHIBIT E
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# DISCORD TERMS OF SERVICE

Last modified: May 9, 2017.

# INTRODUCTION AND ACCEPTING THE TERMS

Welcome to Discord!

These Terms of Service (“Terms”), which include and hereby incorporate
the Privacy Policy at discordapp.com/privacy (“Privacy Policy”), are a
legal agreement between Discord Inc. and its related companies (the
“Company” or "we") and you ("you"). By using or accessing the Discord
application (the “App”) or the website located at https://discordapp.com
(the "Site"), which are collectively referred to as the “Service,” you
agree (i) that you are 13 years of age or older, (ii) if you are the age
of majority in your jurisdiction or over, that you have read, understood,
and accept to be bound by the Terms, and (iii) if you are between 13 and
the age of majority in your jurisdiction, that your legal guardian has
reviewed and agrees to these Terms.

The Company reserves the right, in its sole discretion, to modify or
revise these Terms at any time, and you agree to be bound by such
modifications or revisions. Any such change or modification will be
effective seven (7) days following posting on the Service, and your
continued use of the Service after the effective date will constitute
your acceptance of, and agreement to, such changes or modifications. If
you object to any change or modification, your sole recourse shall be to
cease using the Service.

# RIGHTS TO USE THE SERVICE

The Service provides a social online and mobile chat platform via the App
and related Internet services. The Service may allow you to participate
in public and private chat rooms and to utilize messaging features to
communicate with other users of the Service. Subject to your compliance
with these Terms, the Company grants you a limited, revocable, non-
exclusive, non-transferable, non-sublicensable license to use and access
the Service, solely for your personal, non-commercial use.

You agree not to (and not to attempt to) (i) use the Service for any use
or purpose other than as expressly permitted by these Terms or (ii) copy,
adapt, modify, prepare derivative works based upon, distribute, license,
sell, transfer, publicly display, publicly perform, transmit, stream,
broadcast or otherwise exploit the Service or any portion of the Service,
except as expressly permitted in these Terms. No licenses or rights are
granted to you by implication or otherwise under any intellectual
property rights owned or controlled by the Company or its licensors,
except for the permissions and rights expressly granted in these Terms.

Company reserves the right to modify or discontinue, temporarily or
permanently, the Service (or any part thereof) with or without notice.
The Company reserves the right to refuse any user access to the Services
without notice for any reason, including but not limited to a violation
of the Terms.
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If you violate these Terms, the Company reserves the right to issue you a
warning regarding the violation or immediately terminate or suspend any
or all Accounts you have created using the Service. You agree that the
Company need not provide you notice before terminating or suspending your
Account(s), but it may do so.

# FEES

We will not charge you a fee to use the basic functionality of the
Service. However, you may have to pay a fee to use certain features of
the Service or to obtain Virtual Currency or Virtual Goods (as defined
and discussed further below).

The price for utilizing these features or obtaining such Virtual Currency
or Virtual Goods will be displayed on the App. We may also require you to
pay any amounts due via a third party payment service. Payments of such
fees will be governed by your app store’s or such third party’s terms
applicable to in-app purchases. You agree to comply with all such terms
and other requirements of your app store or such third party.

You are responsible for determining and paying the appropriate government
taxes, fees, and service charges resulting from a transaction occurring
through the Service. We are not responsible for collecting, reporting,
paying, or remitting to you any such taxes, fees, or service charges,
except as may otherwise be required by law.

# YOUR ACCOUNT

You are responsible for your log-in credentials and for any activity
resulting from the use of your log-in credentials or other activity on
your account (“Account”) on the Service.

Upon launching the App or the Service, if you do not already have an
Account, you will be prompted to create one by providing a username and
in some cases a password. You may also be required to provide a valid
email address or other information to access or utilize certain
applications or features.

You represent and warrant that the information you provide to us upon
registration and at all other times will be true, accurate, current, and
complete. We reserve the right to reject any username or to terminate
your username or prevent use of a username in our sole discretion, and
without any liability to you. You understand and agree that other users
of the Service may have the same username as you, however, users will be
differentiated by a number identifier that may or may not be visible to
you or other users. You will ensure that your e-mail address is kept
accurate and up-to-date at all times. If we allow you to use the App
without creating an Account (e.g., if we make available a single-session
use feature), any username you select for use in connection with the App
will be available for other users after your session ends.

You are responsible for maintaining the confidentiality of your log-in
credentials and are fully responsible for all activities that occur
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through the use of your credentials or otherwise on your Account. You
agree to notify us immediately if you believe the confidentiality of your
log-in credentials has been compromised or if you suspect unauthorized
use of your Account. You agree that we will not be liable for any loss or
damage arising from unauthorized use of your credentials.

# COMMUNICATIONS

We may communicate with you by email or posting notice via the Service.
You agree to receive email from us at the email address you provided to
us for customer service-related purposes. By using the Service or
providing information to us, you agree that we may communicate with you
electronically regarding security, privacy, and administrative issues
relating to your use of the Service.

You may use the Service to send messages to other users of the Service.
You agree that your use of the Service will not include sending
unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
a variety of means to block spammers and abusers from using the Service.
If you believe spam originated from the Service, please email us
immediately at support@discordapp.com.

# INTELLECTUAL PROPERTY RIGHTS

All rights, title and interest in and to all materials that are part of
the Service (including, but not limited to, designs, text, graphics,
pictures, video, information, applications, software, music, sound and
other files, and their selection and arrangement), except for Your
Content, collectively referred to as the "Service Materials", are, as
between the Company and you, owned by the Company and/or its third party
licensors. You acknowledge and agree that you shall not acquire any
ownership rights whatsoever by downloading Service Materials or by
purchasing any Virtual Currency or Virtual Goods (each as defined below).

You agree that you shall not modify, copy, distribute, frame, reproduce,
republish, download, scrape, display, post, transmit, or sell in any form
or by any means, in whole or in part, or otherwise exploit the Service
Materials without our express prior written permission. You acknowledge
that you do not acquire any ownership rights by using the Service or by
accessing any Service Materials posted on the Service by the Company, or
any derivative works thereof. All rights not expressly granted by these
Terms are reserved by the Company and its licensors, and no license is
granted hereunder by estoppel, implication or otherwise.

# YOUR CONTENT

Any data, text, graphics, photographs and their selection and
arrangement, and any other materials uploaded to the Service by you is
“Your Content.” You represent and warrant that Your Content is original
to you and that you exclusively own the rights to such content, including
the right to grant all of the rights and licenses in these Terms without
the Company incurring any third party obligations or liability arising
out of its exercise of such rights and licenses. All of Your Content is
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your sole responsibility and the Company is not responsible for any
material that you upload, post, or otherwise make available.

By uploading, distributing, transmitting or otherwise using Your Content
with the Service, you grant to us a perpetual, nonexclusive,
transferable, royalty-free, sublicensable, and worldwide license to use,
host, reproduce, modify, adapt, publish, translate, create derivative
works from, distribute, perform, and display Your Content in connection
with operating and providing the Service.

The Company does not guarantee the accuracy, quality, or integrity of any
user content posted. By using the Service you acknowledge and accept that
you may be exposed to material you find offensive or objectionable. You
agree that the Company will not under any circumstances be liable for any
user content, including, but not limited to, errors in any user content,
or any loss or damage incurred by use of user content.

The Company reserves the right to remove and permanently delete Your
Content from the Service with or without notice for any reason or no
reason. You may notify the Company of any user content that you believe
violates these Terms, or other inappropriate user behavior, by emailing
abuse@discordapp.com.

# VIRTUAL CURRENCIES AND VIRTUAL GOODS

The Service may include an opportunity to obtain virtual currency
("Virtual Currency") or virtual goods ("Virtual Goods") that may require
you to pay a fee using legal tender (that is, "real money") to obtain the
Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
final and is not refundable, exchangeable, transferable, except in the
Company’s or the platform provider’s sole discretion. You may not
purchase, sell, or exchange Virtual Currency outside the Service. Doing
so is a violation of the Terms and may result in termination of your
Account with the Service and/or legal action. The Company retains the
right to modify, manage, control and/or eliminate Virtual Currency and/or
Virtual Goods at its sole discretion. Prices and availability of Virtual
Goods are subject to change without notice. We shall have no liability to
you or any third party for the exercise of such rights. You shall have a
limited, personal, non-transferable, non-sublicensable permission to use
solely within the Service Virtual Goods and Virtual Currency that you
have earned, purchased or otherwise obtained in a manner authorized by
the Company. You have no other right, title or interest in or to any such
Virtual Goods or Virtual Currency appearing or originating in the
Service.

# RULES OF CONDUCT AND USAGE

The Service provides communication channels such as forums, communities,
or chat areas ("Communication Channels") designed to enable you to
communicate with other Service users. The Company has no obligation to
monitor these communication channels but it may do so in connection with
providing the Service.
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The Company may also terminate or suspend your access to any
Communication Channels at any time, without notice, for any reason. You
acknowledge that any user content (including without limitation chats,
postings, or materials posted by users) on the Communication Channels is
neither endorsed nor controlled by us. The Company will not under any
circumstances be liable for any activity within Communication Channels.
The Company is not responsible for information that you choose to share
on the Communication Channels, or for the actions of other users.

As a condition of your use of the Service, and without limiting your
other obligations under these Terms, you agree to comply with the
restrictions and rules of use set forth in these Terms and our [Community
Guidelines](http://www.discordapp.com/guidelines) as well as any
additional restrictions or rules (such as application-specific rules) set
forth in the Service.

As an example, you agree not to use the Service in order to:

- post, upload, transmit or otherwise disseminate information that is
obscene, indecent, vulgar, pornographic, sexual or otherwise
objectionable as outlined in our [Community
Guidelines](http://www.discordapp.com/guidelines);

- defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
abuse anyone;

- upload or transmit (or attempt to upload or transmit) files that
contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
files or data, or any other similar software or programs that may damage
the operation of the Service or other users' computers;

- violate the contractual, personal, intellectual property or other
rights of any party including using, uploading, transmitting,
distributing, or otherwise making available any information made
available through the Service in any manner that infringes any copyright,
trademark, patent, trade secret, or other right of any party (including
rights of privacy or publicity);

- attempt to obtain passwords or other private information from other
members;

- improperly use support channels or complaint buttons to make false
reports to us;

- develop, distribute, or publicly inform other members of "auto"
software programs, "macro" software programs or other "cheat utility"
software program or applications in violation of the applicable license
agreements;

- exploit, distribute or publicly inform other members of any game error,
miscue or bug which gives an unintended advantage; or
violate any applicable laws or regulations, or promote or encourage any
illegal activity including, but not limited to, hacking, cracking or
distribution of counterfeit software, or cheats or hacks for the Service.
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These rules of use are not meant to be exhaustive, and we reserve the
right to determine what conduct we consider to be a violation of the
Terms, Community Guidelines or improper use of the Service and to take
action including termination of your Account and exclusion from further
participation in the Service.

# FEEDBACK

We appreciate hearing from our users and welcome your comments regarding
the Service. Please be advised, however, that if you send to us any
comments, suggestions or recommendations regarding the Service
(“Feedback“ ) you hereby assign to us all rights, title and interest in
and to the Feedback. Accordingly, your Feedback will not be subject to
any obligation of confidentiality and we will not be liable to you for
any use or disclosure of any Feedback. Also, we will be entitled to
unrestricted use of the Feedback for any purpose whatsoever, commercial
or otherwise, without compensation to you or any other person.

# THIRD-PARTY SERVICES

We use third-party services to help us provide the Service, but such use
does not indicate that we endorse them or are responsible or liable for
their actions. In addition, the Service may link to third-party websites
to facilitate its provision of services to you. If you use these links,
you will leave the Service. Some of these third-party websites may use
Service Materials under license from us. We are not responsible for nor
do we endorse these third-party websites or the organizations sponsoring
such third-party websites or their products or services, whether or not
we are affiliated with such third-party websites. You agree that we are
not responsible or liable for any loss or damage of any sort incurred as
a result of any such dealings you may have on or through a third-party
website or as a result of the presence of any third-party advertising on
the Service.

# TERMINATION

You may terminate your Account at any time and for any reason by sending
an email to support@discordapp.com.

The Company may terminate your Account and your access to the Service
(or, at the Company's sole option, applicable portions of the Service) at
any time and for any reason. The Company is not required to provide you
with any notice or warning prior to any such termination. You may, as the
result of termination, lose your Account and all information and data
associated therewith, including without limitation your Virtual Currency
and Virtual Goods, as applicable and the Company is under no obligation
to compensate you for any such loss.

# DISCLAIMER OF WARRANTY

THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
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PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
THE EXTENT PERMITTED BY APPLICABLE LAW.

# LIMITATION OF LIABILITY

TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.

THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A)
THE AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE
THREE (3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT
A CLAIM OR (B) $100.. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO
NOT PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED
UNDER APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF
IMPLIED WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR
CONSEQUENTIAL DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND
LIMITATIONS MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S
LIABILITY WILL BE LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

You specifically acknowledge that the Company shall not be liable for
user content, including without limitation Your Content, or the
defamatory, offensive, or illegal conduct of any third party and that the
risk of harm or damage from the foregoing rests entirely with you.

# INDEMNIFICATION

You agree to indemnify and hold the Company, harmless from and against
any loss, liability, claim, demand, damages, costs and expenses,
including reasonable attorney's fees, arising out of or in connection
with (i) your use of and access to the Service; (ii) your violation of
any term of these Terms; (iii) your violation of any third party right,
including without limitation any copyright, property, or privacy right or
any third party agreement; or (iv) any of Your Content or information in
your Account or any other information you post or share on or through the
Service. As used in this section, "you" shall include anyone accessing
the Service using your password.

# INTERNATIONAL USE; EXPORT CONTROLS

Software available in connection with the Service and the transmission of
applicable data, if any, is subject to United States export controls. No
software may be downloaded from the Service or otherwise exported or re-
exported in violation of U.S. export laws. Downloading or using the
software is at your sole risk. Recognizing the global nature of the
Internet, you agree to comply with all local rules and laws regarding
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your use of the Service, including as it concerns online conduct and
acceptable content.

# IOS APPLICATIONS

The following additional terms and conditions apply with respect to any
App that the Company provides to you designed for use on an Apple iOS-
powered mobile device (an “iOS App”):
- You acknowledge that these Terms are between you and Discord only, and
not with Apple, Inc. (“Apple”).

- Your use of the Company’s iOS App must comply with Apple’s then-current
App Store Terms of Service.

- The Company, and not Apple, are solely responsible for our iOS App and
the Services and Content available thereon. You acknowledge that Apple
has no obligation to provide maintenance and support services with
respect to our iOS App. To the maximum extent permitted by applicable
law, Apple will have no warranty obligation whatsoever with respect to
our iOS App.

- You agree that the Company, and not Apple, are responsible for
addressing any claims by you or any third-party relating to our iOS App
or your possession and/or use of our iOS App.

- You agree that the Company, and not Apple, shall be responsible, to the
extent required by these Terms, for the investigation, defense,
settlement and discharge of any third-party intellectual property
infringement claim related to our iOS App or your possession and use of
our iOS App.

- You represent and warrant that (i) you are not located in a country
that is subject to a U.S. Government embargo, or that has been designated
by the U.S. Government as a “terrorist supporting” country; and (ii) You
are not listed on any U.S. Government list of prohibited or restricted
parties.

- You agree to comply with all applicable third-party terms of agreement
when using our iOS App (e.g., you must not be in violation of your
wireless data service terms of agreement when using the iOS App).

- The parties agree that Apple and Apple’s subsidiaries are third-party
beneficiaries to these Terms as they relate to your license of the
Company’s iOS App. Upon your acceptance of these Terms, Apple will have
the right (and will be deemed to have accepted the right) to enforce
these Terms against you as they relate to your license of the iOS App as
a third-party beneficiary thereof.

# USER DISPUTES

You are solely responsible for your interaction with other users of the
Service and other parties that you come in contact with through the
Service. The Company hereby disclaims any and all liability to you or any
third party relating to your use of the Service. The Company reserves the
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right, but has no obligation, to manage disputes between you and other
users of the Service.

# COPYRIGHT

Copyright Complaints: The Company respects the intellectual property of
others, and we ask our users to do the same. If you believe that your
work has been copied in a way that constitutes copyright infringement, or
that your intellectual property rights have been otherwise violated, you
should notify the Company of your infringement claim in accordance with
the procedure set forth below.

The Company will process and investigate notices of alleged infringement
and will take appropriate actions under the Digital Millennium Copyright
Act (“DMCA”) and other applicable intellectual property laws with respect
to any alleged or actual infringement. A notification of claimed
copyright infringement should be emailed to the Company’s Copyright Agent
at abuse@discordapp.com (Subject line: “DMCA Takedown Request”). You may
also contact us by mail at: Discord, Attention: DMCA Takedown Request,
1901 S Bascom Ave. Suite 1180, Campbell, CA 95080.To be effective, the
notification must be in writing and contain the following information:

- an electronic or physical signature of the person authorized to act on
behalf of the owner of the copyright or other intellectual property
interest;

- a description of the copyrighted work or other intellectual property
that you claim has been infringed;

- a description of where the material that you claim is infringing is
located on the Service, with enough detail that we may find it on the
Service;

- your address, telephone number, and email address;

- a statement by you that you have a good faith belief that the disputed
use is not authorized by the copyright or intellectual property owner,
its agent, or the law;

- a statement by you, made under penalty of perjury, that the above
information in your Notice is accurate and that you are the copyright or
intellectual property owner or authorized to act on the copyright or
intellectual property owner’s behalf.

Counter-Notice: If you believe that Your Content that was removed (or to
which access was disabled) is not infringing, or that you have the
authorization from the copyright owner, the copyright owner’s agent, or
pursuant to the law, to upload and use the content in Your Content, you
may send a written counter-notice containing the following information to
the Copyright Agent:

- your physical or electronic signature;
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- identification of the content that has been removed or to which access
has been disabled and the location at which the content appeared before
it was removed or disabled;

- a statement that you have a good faith belief that the content was
removed or disabled as a result of mistake or a misidentification of the
content; and

- your name, address, telephone number, and email address, a statement
that you consent to the jurisdiction of the federal court located within
the Northern District of California and a statement that you will accept
service of process from the person who provided notification of the
alleged infringement.

If a counter-notice is received by the Copyright Agent, the Company will
send a copy of the counter-notice to the original complaining party
informing that person that it may replace the removed content or cease
disabling it in 10 business days. Unless the copyright owner files an
action seeking a court order against the content provider, member or
user, the removed content may be replaced, or access to it restored, in
10 to 14 business days or more after receipt of the counter-notice, at
our sole discretion.

Repeat Infringer Policy: In accordance with the DMCA and other applicable
law, the Company has adopted a policy of terminating, in appropriate
circumstances and at the Company's sole discretion, users who are deemed
to be repeat infringers. The Company may also at its sole discretion
limit access to the Service and/or terminate the memberships of any users
who infringe any intellectual property rights of others, whether or not
there is any repeat infringement


# GENERAL
By visiting or using the Service, you agree that the laws of the United
States and the State of California, without regard to principles of
conflict of laws and regardless of your location, will govern these Terms
and any dispute of any sort that might arise between you and the Company.
Any claim or dispute between you and the Company that arises in whole or
in part from these Terms or your use of the Service shall be decided
exclusively by a court of competent jurisdiction located in Santa Clara
County, California, and you hereby consent to, and waive all defenses of
lack of personal jurisdiction and forum non conveniens with respect to
venue and jurisdiction in the state and federal courts of Santa Clara
County, California.

You acknowledge that the rights granted and obligations made to the
Company under these Terms are of a unique and irreplaceable nature, the
loss of which may result in immediate and irreparable harm to the Company
for which remedies at law are inadequate. The Company shall therefore be
entitled to seek injunctive or other equitable relief (without the
obligation to post any bond or surety) in the event of any breach or
anticipatory breach by you. You irrevocably waive all rights to seek
injunctive or other equitable relief.
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You agree to be responsible for obtaining and maintaining all telephone,
computer hardware mobile devices and other equipment needed for access to
and use of the Service, and all charges related thereto.

These Terms constitute the entire agreement between you and the Company
with respect to your use of the Service and any other subject matter
hereof and cannot be changed or modified by you except as expressly
posted on the Service by the Company. You also may be subject to
additional terms and conditions that may apply when you use affiliate or
third party services, third party content or third party software. The
failure of the Company to exercise or enforce any right or provision of
these Terms shall not constitute a waiver of such right or provision, and
no waiver by either party of any breach or default hereunder shall be
deemed to be a waiver of any preceding or subsequent breach or default.
If any provision of these Terms is found by a court of competent
jurisdiction to be invalid, the parties nevertheless agree that the court
should endeavor to give effect to the parties' intentions as reflected in
the provision, and the other provisions of these Terms shall remain in
full force and effect. Neither the course of conduct between the parties
nor trade practice will act to modify these Terms. These Terms may not be
assigned by you without the Company's prior written consent, but are
freely assignable by the Company. The section headings used herein are
for convenience only and shall not be given any legal import. Upon the
Company's request, you will furnish the Company with any documentation,
substantiation or releases necessary to verify your compliance with these
Terms. You agree that these Terms will not be construed against the
Company by virtue of having drafted them. You hereby waive any and all
defenses you may have based on the electronic form of these Terms and the
lack of signing by the parties hereto to execute these Terms.

You agree that the provisions of these Terms that by their nature should
survive termination will survive any termination of these Terms.
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                         EXHIBIT F
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# DISCORD TERMS OF SERVICE

Last modified: May 9, 2017.

# INTRODUCTION AND ACCEPTING THE TERMS

Welcome to Discord!

These Terms of Service (“Terms”), which include and hereby incorporate
the Privacy Policy at discordapp.com/privacy (“Privacy Policy”), are a
legal agreement between Discord Inc. and its related companies (the
“Company” or "we") and you ("you"). By using or accessing the Discord
application (the “App”) or the website located at https://discordapp.com
(the "Site"), which are collectively referred to as the “Service,” you
agree (i) that you are 13 years of age or older, (ii) if you are the age
of majority in your jurisdiction or over, that you have read, understood,
and accept to be bound by the Terms, and (iii) if you are between 13 and
the age of majority in your jurisdiction, that your legal guardian has
reviewed and agrees to these Terms.

The Company reserves the right, in its sole discretion, to modify or
revise these Terms at any time, and you agree to be bound by such
modifications or revisions. Any such change or modification will be
effective seven (7) days following posting on the Service, and your
continued use of the Service after the effective date will constitute
your acceptance of, and agreement to, such changes or modifications. If
you object to any change or modification, your sole recourse shall be to
cease using the Service.

# RIGHTS TO USE THE SERVICE

The Service provides a social online and mobile chat platform via the App
and related Internet services. The Service may allow you to participate
in public and private chat rooms and to utilize messaging features to
communicate with other users of the Service. Subject to your compliance
with these Terms, the Company grants you a limited, revocable, non-
exclusive, non-transferable, non-sublicensable license to use and access
the Service, solely for your personal, non-commercial use.

You agree not to (and not to attempt to) (i) use the Service for any use
or purpose other than as expressly permitted by these Terms or (ii) copy,
adapt, modify, prepare derivative works based upon, distribute, license,
sell, transfer, publicly display, publicly perform, transmit, stream,
broadcast or otherwise exploit the Service or any portion of the Service,
except as expressly permitted in these Terms. No licenses or rights are
granted to you by implication or otherwise under any intellectual
property rights owned or controlled by the Company or its licensors,
except for the permissions and rights expressly granted in these Terms.

Company reserves the right to modify or discontinue, temporarily or
permanently, the Service (or any part thereof) with or without notice.
The Company reserves the right to refuse any user access to the Services
without notice for any reason, including but not limited to a violation
of the Terms.
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If you violate these Terms, the Company reserves the right to issue you a
warning regarding the violation or immediately terminate or suspend any
or all Accounts you have created using the Service. You agree that the
Company need not provide you notice before terminating or suspending your
Account(s), but it may do so.

# FEES

We will not charge you a fee to use the basic functionality of the
Service. However, you may have to pay a fee to use certain features of
the Service or to obtain Virtual Currency or Virtual Goods (as defined
and discussed further below).

The price for utilizing these features or obtaining such Virtual Currency
or Virtual Goods will be displayed on the App. We may also require you to
pay any amounts due via a third party payment service. Payments of such
fees will be governed by your app store’s or such third party’s terms
applicable to in-app purchases. You agree to comply with all such terms
and other requirements of your app store or such third party.

You are responsible for determining and paying the appropriate government
taxes, fees, and service charges resulting from a transaction occurring
through the Service. We are not responsible for collecting, reporting,
paying, or remitting to you any such taxes, fees, or service charges,
except as may otherwise be required by law.

# YOUR ACCOUNT

You are responsible for your log-in credentials and for any activity
resulting from the use of your log-in credentials or other activity on
your account (“Account”) on the Service.

Upon launching the App or the Service, if you do not already have an
Account, you will be prompted to create one by providing a username and
in some cases a password. You may also be required to provide a valid
email address or other information to access or utilize certain
applications or features.

You represent and warrant that the information you provide to us upon
registration and at all other times will be true, accurate, current, and
complete. We reserve the right to reject any username or to terminate
your username or prevent use of a username in our sole discretion, and
without any liability to you. You understand and agree that other users
of the Service may have the same username as you, however, users will be
differentiated by a number identifier that may or may not be visible to
you or other users. You will ensure that your e-mail address is kept
accurate and up-to-date at all times. If we allow you to use the App
without creating an Account (e.g., if we make available a single-session
use feature), any username you select for use in connection with the App
will be available for other users after your session ends.

You are responsible for maintaining the confidentiality of your log-in
credentials and are fully responsible for all activities that occur
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through the use of your credentials or otherwise on your Account. You
agree to notify us immediately if you believe the confidentiality of your
log-in credentials has been compromised or if you suspect unauthorized
use of your Account. You agree that we will not be liable for any loss or
damage arising from unauthorized use of your credentials.

# COMMUNICATIONS

We may communicate with you by email or posting notice via the Service.
You agree to receive email from us at the email address you provided to
us for customer service-related purposes. By using the Service or
providing information to us, you agree that we may communicate with you
electronically regarding security, privacy, and administrative issues
relating to your use of the Service.

You may use the Service to send messages to other users of the Service.
You agree that your use of the Service will not include sending
unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
a variety of means to block spammers and abusers from using the Service.
If you believe spam originated from the Service, please email us
immediately at support@discordapp.com.

# INTELLECTUAL PROPERTY RIGHTS

All rights, title and interest in and to all materials that are part of
the Service (including, but not limited to, designs, text, graphics,
pictures, video, information, applications, software, music, sound and
other files, and their selection and arrangement), except for Your
Content, collectively referred to as the "Service Materials", are, as
between the Company and you, owned by the Company and/or its third party
licensors. You acknowledge and agree that you shall not acquire any
ownership rights whatsoever by downloading Service Materials or by
purchasing any Virtual Currency or Virtual Goods (each as defined below).

You agree that you shall not modify, copy, distribute, frame, reproduce,
republish, download, scrape, display, post, transmit, or sell in any form
or by any means, in whole or in part, or otherwise exploit the Service
Materials without our express prior written permission. You acknowledge
that you do not acquire any ownership rights by using the Service or by
accessing any Service Materials posted on the Service by the Company, or
any derivative works thereof. All rights not expressly granted by these
Terms are reserved by the Company and its licensors, and no license is
granted hereunder by estoppel, implication or otherwise.

# YOUR CONTENT

Any data, text, graphics, photographs and their selection and
arrangement, and any other materials uploaded to the Service by you is
“Your Content.” You represent and warrant that Your Content is original
to you and that you exclusively own the rights to such content, including
the right to grant all of the rights and licenses in these Terms without
the Company incurring any third party obligations or liability arising
out of its exercise of such rights and licenses. All of Your Content is
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your sole responsibility and the Company is not responsible for any
material that you upload, post, or otherwise make available.

By uploading, distributing, transmitting or otherwise using Your Content
with the Service, you grant to us a perpetual, nonexclusive,
transferable, royalty-free, sublicensable, and worldwide license to use,
host, reproduce, modify, adapt, publish, translate, create derivative
works from, distribute, perform, and display Your Content in connection
with operating and providing the Service.

The Company does not guarantee the accuracy, quality, or integrity of any
user content posted. By using the Service you acknowledge and accept that
you may be exposed to material you find offensive or objectionable. You
agree that the Company will not under any circumstances be liable for any
user content, including, but not limited to, errors in any user content,
or any loss or damage incurred by use of user content.

The Company reserves the right to remove and permanently delete Your
Content from the Service with or without notice for any reason or no
reason. You may notify the Company of any user content that you believe
violates these Terms, or other inappropriate user behavior, by emailing
abuse@discordapp.com.

# VIRTUAL CURRENCIES AND VIRTUAL GOODS

The Service may include an opportunity to obtain virtual currency
("Virtual Currency") or virtual goods ("Virtual Goods") that may require
you to pay a fee using legal tender (that is, "real money") to obtain the
Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
final and is not refundable, exchangeable, transferable, except in the
Company’s or the platform provider’s sole discretion. You may not
purchase, sell, or exchange Virtual Currency outside the Service. Doing
so is a violation of the Terms and may result in termination of your
Account with the Service and/or legal action. The Company retains the
right to modify, manage, control and/or eliminate Virtual Currency and/or
Virtual Goods at its sole discretion. Prices and availability of Virtual
Goods are subject to change without notice. We shall have no liability to
you or any third party for the exercise of such rights. You shall have a
limited, personal, non-transferable, non-sublicensable permission to use
solely within the Service Virtual Goods and Virtual Currency that you
have earned, purchased or otherwise obtained in a manner authorized by
the Company. You have no other right, title or interest in or to any such
Virtual Goods or Virtual Currency appearing or originating in the
Service.

# RULES OF CONDUCT AND USAGE

The Service provides communication channels such as forums, communities,
or chat areas ("Communication Channels") designed to enable you to
communicate with other Service users. The Company has no obligation to
monitor these communication channels but it may do so in connection with
providing the Service.
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The Company may also terminate or suspend your access to any
Communication Channels at any time, without notice, for any reason. You
acknowledge that any user content (including without limitation chats,
postings, or materials posted by users) on the Communication Channels is
neither endorsed nor controlled by us. The Company will not under any
circumstances be liable for any activity within Communication Channels.
The Company is not responsible for information that you choose to share
on the Communication Channels, or for the actions of other users.

As a condition of your use of the Service, and without limiting your
other obligations under these Terms, you agree to comply with the
restrictions and rules of use set forth in these Terms and our [Community
Guidelines](http://www.discordapp.com/guidelines) as well as any
additional restrictions or rules (such as application-specific rules) set
forth in the Service.

As an example, you agree not to use the Service in order to:

- post, upload, transmit or otherwise disseminate information that is
obscene, indecent, vulgar, pornographic, sexual or otherwise
objectionable as outlined in our [Community
Guidelines](http://www.discordapp.com/guidelines);
- defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
abuse anyone;
- upload or transmit (or attempt to upload or transmit) files that
contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
files or data, or any other similar software or programs that may damage
the operation of the Service or other users' computers;
- violate the contractual, personal, intellectual property or other
rights of any party including using, uploading, transmitting,
distributing, or otherwise making available any information made
available through the Service in any manner that infringes any copyright,
trademark, patent, trade secret, or other right of any party (including
rights of privacy or publicity);
- attempt to obtain passwords or other private information from other
members;
- improperly use support channels or complaint buttons to make false
reports to us;
- develop, distribute, or publicly inform other members of "auto"
software programs, "macro" software programs or other "cheat utility"
software program or applications in violation of the applicable license
agreements;
- exploit, distribute or publicly inform other members of any game error,
miscue or bug which gives an unintended advantage; or
violate any applicable laws or regulations, or promote or encourage any
illegal activity including, but not limited to, hacking, cracking or
distribution of counterfeit software, or cheats or hacks for the Service.


These rules of use are not meant to be exhaustive, and we reserve the
right to determine what conduct we consider to be a violation of the
Terms, Community Guidelines or improper use of the Service and to take
action including termination of your Account and exclusion from further
participation in the Service.
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# FEEDBACK

We appreciate hearing from our users and welcome your comments regarding
the Service. Please be advised, however, that if you send to us any
comments, suggestions or recommendations regarding the Service
(“Feedback“ ) you hereby assign to us all rights, title and interest in
and to the Feedback. Accordingly, your Feedback will not be subject to
any obligation of confidentiality and we will not be liable to you for
any use or disclosure of any Feedback. Also, we will be entitled to
unrestricted use of the Feedback for any purpose whatsoever, commercial
or otherwise, without compensation to you or any other person.

# THIRD-PARTY SERVICES

We use third-party services to help us provide the Service, but such use
does not indicate that we endorse them or are responsible or liable for
their actions. In addition, the Service may link to third-party websites
to facilitate its provision of services to you. If you use these links,
you will leave the Service. Some of these third-party websites may use
Service Materials under license from us. We are not responsible for nor
do we endorse these third-party websites or the organizations sponsoring
such third-party websites or their products or services, whether or not
we are affiliated with such third-party websites. You agree that we are
not responsible or liable for any loss or damage of any sort incurred as
a result of any such dealings you may have on or through a third-party
website or as a result of the presence of any third-party advertising on
the Service.

# TERMINATION

You may terminate your Account at any time and for any reason by sending
an email to support@discordapp.com.

The Company may terminate your Account and your access to the Service
(or, at the Company's sole option, applicable portions of the Service) at
any time and for any reason. The Company is not required to provide you
with any notice or warning prior to any such termination. You may, as the
result of termination, lose your Account and all information and data
associated therewith, including without limitation your Virtual Currency
and Virtual Goods, as applicable and the Company is under no obligation
to compensate you for any such loss.

# DISCLAIMER OF WARRANTY

THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" WITHOUT
WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED, INCLUDING, BUT NOT
LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. IN ADDITION, WHILE THE
COMPANY ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
THE EXTENT PERMITTED BY APPLICABLE LAW.
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# LIMITATION OF LIABILITY

TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.

THE COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A)
THE AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE
THREE (3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT
A CLAIM OR (B) $100.. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO
NOT PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED
UNDER APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF
IMPLIED WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR
CONSEQUENTIAL DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND
LIMITATIONS MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S
LIABILITY WILL BE LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

You specifically acknowledge that the Company shall not be liable for
user content, including without limitation Your Content, or the
defamatory, offensive, or illegal conduct of any third party and that the
risk of harm or damage from the foregoing rests entirely with you.

# INDEMNIFICATION

You agree to indemnify and hold the Company, harmless from and against
any loss, liability, claim, demand, damages, costs and expenses,
including reasonable attorney's fees, arising out of or in connection
with (i) your use of and access to the Service; (ii) your violation of
any term of these Terms; (iii) your violation of any third party right,
including without limitation any copyright, property, or privacy right or
any third party agreement; or (iv) any of Your Content or information in
your Account or any other information you post or share on or through the
Service. As used in this section, "you" shall include anyone accessing
the Service using your password.

# INTERNATIONAL USE; EXPORT CONTROLS

Software available in connection with the Service and the transmission of
applicable data, if any, is subject to United States export controls. No
software may be downloaded from the Service or otherwise exported or re-
exported in violation of U.S. export laws. Downloading or using the
software is at your sole risk. Recognizing the global nature of the
Internet, you agree to comply with all local rules and laws regarding
your use of the Service, including as it concerns online conduct and
acceptable content.

# IOS APPLICATIONS
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The following additional terms and conditions apply with respect to any
App that the Company provides to you designed for use on an Apple iOS-
powered mobile device (an “iOS App”):
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App Store Terms of Service.
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the Services and Content available thereon. You acknowledge that Apple
has no obligation to provide maintenance and support services with
respect to our iOS App. To the maximum extent permitted by applicable
law, Apple will have no warranty obligation whatsoever with respect to
our iOS App.
- You agree that the Company, and not Apple, are responsible for
addressing any claims by you or any third-party relating to our iOS App
or your possession and/or use of our iOS App.
- You agree that the Company, and not Apple, shall be responsible, to the
extent required by these Terms, for the investigation, defense,
settlement and discharge of any third-party intellectual property
infringement claim related to our iOS App or your possession and use of
our iOS App.
- You represent and warrant that (i) you are not located in a country
that is subject to a U.S. Government embargo, or that has been designated
by the U.S. Government as a “terrorist supporting” country; and (ii) You
are not listed on any U.S. Government list of prohibited or restricted
parties.
- You agree to comply with all applicable third-party terms of agreement
when using our iOS App (e.g., you must not be in violation of your
wireless data service terms of agreement when using the iOS App).
- The parties agree that Apple and Apple’s subsidiaries are third-party
beneficiaries to these Terms as they relate to your license of the
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Copyright Complaints: The Company respects the intellectual property of
others, and we ask our users to do the same. If you believe that your
work has been copied in a way that constitutes copyright infringement, or
that your intellectual property rights have been otherwise violated, you
should notify the Company of your infringement claim in accordance with
the procedure set forth below.
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The Company will process and investigate notices of alleged infringement
and will take appropriate actions under the Digital Millennium Copyright
Act (“DMCA”) and other applicable intellectual property laws with respect
to any alleged or actual infringement. A notification of claimed
copyright infringement should be emailed to the Company’s Copyright Agent
at copyright@discordapp.com. Alternately, you may contact us by mail at:
Discord, Attention: DMCA Takedown Request, 444 De Haro St, Suite 200, San
Francisco, CA 94107. To be effective, the notification must be in writing
and contain the following information:

- an electronic or physical signature of the person authorized to act on
behalf of the owner of the copyright or other intellectual property
interest;
- a description of the copyrighted work or other intellectual property
that you claim has been infringed;
- a description of where the material that you claim is infringing is
located on the Service, with enough detail that we may find it on the
Service;
- your address, telephone number, and email address;
- a statement by you that you have a good faith belief that the disputed
use is not authorized by the copyright or intellectual property owner,
its agent, or the law;
- a statement by you, made under penalty of perjury, that the above
information in your Notice is accurate and that you are the copyright or
intellectual property owner or authorized to act on the copyright or
intellectual property owner’s behalf.


Counter-Notice: If you believe that Your Content that was removed (or to
which access was disabled) is not infringing, or that you have the
authorization from the copyright owner, the copyright owner’s agent, or
pursuant to the law, to upload and use the content in Your Content, you
may send a written counter-notice containing the following information to
the Copyright Agent:

- your physical or electronic signature;
- identification of the content that has been removed or to which access
has been disabled and the location at which the content appeared before
it was removed or disabled;
- a statement that you have a good faith belief that the content was
removed or disabled as a result of mistake or a misidentification of the
content; and
- your name, address, telephone number, and email address, a statement
that you consent to the jurisdiction of the federal court located within
the Northern District of California and a statement that you will accept
service of process from the person who provided notification of the
alleged infringement.


If a counter-notice is received by the Copyright Agent, the Company will
send a copy of the counter-notice to the original complaining party
informing that person that it may replace the removed content or cease
disabling it in 10 business days. Unless the copyright owner files an
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action seeking a court order against the content provider, member or
user, the removed content may be replaced, or access to it restored, in
10 to 14 business days or more after receipt of the counter-notice, at
our sole discretion.

Repeat Infringer Policy: In accordance with the DMCA and other applicable
law, the Company has adopted a policy of terminating, in appropriate
circumstances and at the Company's sole discretion, users who are deemed
to be repeat infringers. The Company may also at its sole discretion
limit access to the Service and/or terminate the memberships of any users
who infringe any intellectual property rights of others, whether or not
there is any repeat infringement

# GENERAL

By visiting or using the Service, you agree that the laws of the United
States and the State of California, without regard to principles of
conflict of laws and regardless of your location, will govern these Terms
and any dispute of any sort that might arise between you and the Company.
Any claim or dispute between you and the Company that arises in whole or
in part from these Terms or your use of the Service shall be decided
exclusively by a court of competent jurisdiction located in Santa Clara
County, California, and you hereby consent to, and waive all defenses of
lack of personal jurisdiction and forum non conveniens with respect to
venue and jurisdiction in the state and federal courts of Santa Clara
County, California.

You acknowledge that the rights granted and obligations made to the
Company under these Terms are of a unique and irreplaceable nature, the
loss of which may result in immediate and irreparable harm to the Company
for which remedies at law are inadequate. The Company shall therefore be
entitled to seek injunctive or other equitable relief (without the
obligation to post any bond or surety) in the event of any breach or
anticipatory breach by you. You irrevocably waive all rights to seek
injunctive or other equitable relief.

You agree to be responsible for obtaining and maintaining all telephone,
computer hardware mobile devices and other equipment needed for access to
and use of the Service, and all charges related thereto.

These Terms constitute the entire agreement between you and the Company
with respect to your use of the Service and any other subject matter
hereof and cannot be changed or modified by you except as expressly
posted on the Service by the Company. You also may be subject to
additional terms and conditions that may apply when you use affiliate or
third party services, third party content or third party software. The
failure of the Company to exercise or enforce any right or provision of
these Terms shall not constitute a waiver of such right or provision, and
no waiver by either party of any breach or default hereunder shall be
deemed to be a waiver of any preceding or subsequent breach or default.
If any provision of these Terms is found by a court of competent
jurisdiction to be invalid, the parties nevertheless agree that the court
should endeavor to give effect to the parties' intentions as reflected in
the provision, and the other provisions of these Terms shall remain in
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full force and effect. Neither the course of conduct between the parties
nor trade practice will act to modify these Terms. These Terms may not be
assigned by you without the Company's prior written consent, but are
freely assignable by the Company. The section headings used herein are
for convenience only and shall not be given any legal import. Upon the
Company's request, you will furnish the Company with any documentation,
substantiation or releases necessary to verify your compliance with these
Terms. You agree that these Terms will not be construed against the
Company by virtue of having drafted them. You hereby waive any and all
defenses you may have based on the electronic form of these Terms and the
lack of signing by the parties hereto to execute these Terms.

You agree that the provisions of these Terms that by their nature should
survive termination will survive any termination of these Terms.`,
STORE_TERMS: `Hello, friend! I see that you're part of a special group of
people that have access to something that we're testing out. You almost
certainly got to this page because you're trying out some of our new,
exciting features. Just to make it clear, the Terms here only apply to
you if you are in the beta test that we're running and you've accepted
them. For everyone else, the standard Discord [Terms of
Service](https://discordapp.com/terms) apply.

# Discord Store Beta Terms of Service

Last modified: August 9, 2018.

IMPORTANT NOTICE: THESE TERMS OF SERVICE CONTAIN A BINDING ARBITRATION
PROVISION AND CLASS ACTION WAIVER. IT AFFECTS YOUR LEGAL RIGHTS AS
DETAILED IN THE DISPUTE RESOLUTION AND CLASS ACTION WAIVER SECTION BELOW.
PLEASE READ CAREFULLY.

# INTRODUCTION AND ACCEPTING THE TERMS

Welcome to Discord! These Terms of Service (“Terms”), which include and
hereby incorporate the Privacy Policy at https://discordapp.com/privacy
(“Privacy Policy”), are a legal agreement between Discord Inc. and its
related companies (the “Company,” “us,” “our,” or "we") and you ("you" or
“your”). By using or accessing the Discord application (the “App”) or the
website located at https://discordapp.com (the "Site"), which are
collectively referred to as the “Service,” you agree (i) that you are 13
years of age or older, (ii) if you are the age of majority in your
jurisdiction or over, that you have read, understood, and accept to be
bound by the Terms, and (iii) if you are between 13 and the age of
majority in your jurisdiction, that your legal guardian has reviewed and
agrees to these Terms.

The Company reserves the right to update these Terms, which we may do for
reasons that include, but are not limited to, complying with changes to
the law or reflecting enhancements to Discord. If the changes affect your
usage of Discord or your legal rights, we’ll notify you no less than
seven days before the changes take effect. Unless we state otherwise,
your continued use of the Service after we post modifications will
constitute your acceptance of and agreement to those changes. If you
object to the changes, your recourse shall be to cease using the Service.
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# RIGHTS TO USE THE SERVICE

The Service provides a chat and social platform. The Service may allow
you to participate in public and private chat rooms and to utilize
messaging features to communicate with other users of the Service. The
Service may also allow you to access certain software and/or other
content that is available to purchase from the Company. Subject to your
compliance with these Terms, the Company grants you a limited, revocable,
non-exclusive, non-transferable, non-sublicensable license to use and
access the Service, solely for your personal, non-commercial use. You
agree not to (and not to attempt to) (i) use the Service for any use or
purpose other than as expressly permitted by these Terms;(ii) copy,
adapt, modify, prepare derivative works based upon, distribute, license,
sell, transfer, publicly display, publicly perform, transmit, stream,
broadcast, attempt to discover any source code, reverse engineer,
decompile, dissemble, or otherwise exploit the Service or any portion of
the Service, except as expressly permitted in these Terms; or (iii) use
data mining, robots, spiders, or similar data gathering and extraction
tools on the Service. No licenses or rights are granted to you by
implication or otherwise under any intellectual property rights owned or
controlled by the Company or its licensors, except for the permissions
and rights expressly granted in these Terms.

The Company reserves the right to modify or discontinue, temporarily or
permanently, the Service (or any part thereof) with or without notice.
The Company reserves the right to refuse any user access to the Services
without notice for any reason, including but not limited to a violation
of the Terms. If you violate these Terms, the Company reserves the right
to issue you a warning regarding the violation or immediately terminate
or suspend any or all Accounts you have created using the Service. You
agree that the Company need not provide you notice before terminating or
suspending your Account(s), but it may do so.

# YOUR ACCOUNT

You are responsible for your log-in credentials and for any activity
resulting from the use of your log-in credentials or other activity on
your account (“Account”) on the Service. Upon launching the App or the
Service, if you do not already have an Account, you will be prompted to
create one by providing a username and in some cases a password. You may
also be required to provide a valid email address or other information to
access or utilize certain applications or features. You represent and
warrant that the information you provide to us upon registration and at
all other times will be true, accurate, current, and complete. We reserve
the right to reject any username or to terminate your username or prevent
use of a username in our sole discretion, and without any liability to
you. You understand and agree that other users of the Service may have
the same username as you, however, users will be differentiated by a
number identifier that may or may not be visible to you or other users.
You will ensure that your e-mail address is kept accurate and up-to-date
at all times. If we allow you to use the App without creating an Account
(e.g., if we make available a single-session use feature), any username
you select for use in connection with the App will be available for other
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users after your session ends. You are responsible for maintaining the
confidentiality of your log-in credentials and are fully responsible for
all activities that occur through the use of your credentials or
otherwise on your Account. You agree to notify us immediately if you
believe the confidentiality of your log-in credentials has been
compromised or if you suspect unauthorized use of your Account. You agree
that we will not be liable for any loss or damage arising from
unauthorized use of your credentials.

# COMMUNICATIONS

You agree to receive communications from us electronically, such as
email, text, or mobile push notices, or notices and messages on the
Service. For any direct marketing messages, we will ensure that we obtain
your consent first, and also make it easy for you to opt out — we don’t
want to send you messages you don’t want.

By using the Service or providing information to us, you agree that we
may communicate with you electronically regarding security, privacy, and
administrative issues relating to your use of the Service, and that all
agreements, notices, disclosures, and other communications that Discord
provides to you electronically satisfy any legal requirements that such
communications be in writing.

You may use the Service to send messages to other users of the Service.
You agree that your use of the Service will not include sending
unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
a variety of means to block spammers and abusers from using the Service.
If you believe spam originated from the Service, please email us
immediately at support@discordapp.com.

# INTELLECTUAL PROPERTY RIGHTS

All rights, title and interest in and to all materials that are part of
the Service (including, but not limited to, designs, text, graphics,
pictures, video, information, applications, software, music, sound and
other files, and their selection and arrangement), except for Your
Content, collectively referred to as the "Service Materials,” are, as
between the Company and you, owned by the Company and/or its third party
licensors. You acknowledge and agree that you shall not acquire any
ownership rights whatsoever by downloading Service Materials or by
purchasing any Virtual Currency or Virtual Goods (each as defined below).
You agree that you shall not modify, copy, distribute, frame, reproduce,
republish, download, scrape, display, post, transmit, or sell in any form
or by any means, in whole or in part, or otherwise exploit the Service
Materials without our express prior written permission. You acknowledge
that you do not acquire any ownership rights by using the Service or by
accessing any Service Materials posted on the Service by the Company, or
any derivative works thereof. All rights not expressly granted by these
Terms are reserved by the Company and its licensors, and no license is
granted hereunder by estoppel, implication or otherwise.

# YOUR CONTENT
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Any data, text, graphics, photographs and their selection and
arrangement, and any other materials uploaded to the Service by you is
“Your Content.” You represent and warrant that Your Content is original
to you and that you exclusively own the rights to such content, including
the right to grant all of the rights and licenses in these Terms without
the Company incurring any third party obligations or liability arising
out of its exercise of such rights and licenses. All of Your Content is
your sole responsibility and the Company is not responsible for any
material that you upload, post, or otherwise make available. By
uploading, distributing, transmitting or otherwise using Your Content
with the Service, you grant to us a perpetual, nonexclusive,
transferable, royalty-free, sublicensable, and worldwide license to use,
host, reproduce, modify, adapt, publish, translate, create derivative
works from, distribute, perform, and display Your Content in connection
with operating and providing the Service. The Company does not guarantee
the accuracy, quality, or integrity of any user content posted. By using
the Service, you acknowledge and accept that you may be exposed to
material you find offensive or objectionable. You agree that the Company
will not under any circumstances be liable for any user content,
including, but not limited to, errors in any user content, or any loss or
damage incurred by use of user content. The Company reserves the right to
remove and permanently delete Your Content from the Service with or
without notice for any reason or no reason. You may notify the Company of
any user content that you believe violates these Terms, or other
inappropriate user behavior, by emailing abuse@discordapp.com.

# RULES OF CONDUCT AND USAGE

The Service provides communication channels such as forums, communities,
or chat areas ("Communication Channels") designed to enable you to
communicate with other Service users. The Company has no obligation to
monitor these communication channels but it may do so in connection with
providing the Service. The Company may also terminate or suspend your
access to any Communication Channels at any time, without notice, for any
reason. You acknowledge that any user content (including without
limitation chats, postings, or materials posted by users) on the
Communication Channels is neither endorsed nor controlled by us. The
Company will not under any circumstances be liable for any activity
within Communication Channels. The Company is not responsible for
information that you choose to share on the Communication Channels, or
for the actions of other users. As a condition of your use of the
Service, and without limiting your other obligations under these Terms,
you agree to comply with the restrictions and rules of use set forth in
these Terms and our Community Guidelines as well as any additional
restrictions or rules (such as application-specific rules) set forth in
the Service. As an example, you agree not to use the Service in order to:

- post, upload, transmit or otherwise disseminate information that is
objectionable as outlined in our Community Guidelines;
- defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
abuse anyone;
- engage in conduct that is fraudulent or illegal or otherwise harmful to
Discord or any other user;
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- upload or transmit (or attempt to upload or transmit) files that
contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
files or data, or any other similar software or programs or engage in any
other activity that may damage the operation of the Service or other
users' computers;
- violate the contractual, personal, intellectual property or other
rights of any party including using, uploading, transmitting,
distributing, or otherwise making available any information made
available through the Service in any manner that infringes any copyright,
trademark, patent, trade secret, or other right of any party (including
rights of privacy or publicity);
- attempt to obtain passwords or other private information from other
members;
- improperly use support channels or complaint buttons to make false
reports to us;
- develop, distribute, or publicly inform other members of "auto"
software programs, "macro" software programs or other "cheat utility"
software program or applications in violation of the applicable license
agreements; or
- exploit, distribute or publicly inform other members of any game error,
miscue or bug which gives an unintended advantage; violate any applicable
laws or regulations; or promote or encourage illegal activity including,
but not limited to, hacking, cracking or distribution of counterfeit
software, compromised accounts, or cheats or hacks for the Service.


These rules of use are not meant to be exhaustive, and we reserve the
right to determine what conduct we consider to be a violation of the
Terms, Community Guidelines or improper use of the Service and to take
action including termination of your Account and exclusion from further
participation in the Service.

# FEEDBACK

We appreciate hearing from our users and welcome your comments regarding
the Service. If you choose to provide feedback, comments or suggestions
for improvements to the Service or otherwise (in written or oral form)
(“Feedback”), you represent and warrant that (a) you have the right to
disclose the Feedback, (b) the Feedback does not violate the rights of
any other person or entity, and (c) your Feedback does not contain the
confidential or proprietary information of any third party or parties.

By sending us any Feedback, you further (i) agree that we are under no
obligation of confidentiality, express or implied, with respect to the
Feedback, (ii) acknowledge that we may have something similar to the
Feedback already under consideration or in development, (iii) grant us an
irrevocable, non-exclusive, royalty-free, perpetual, worldwide license to
use, modify, prepare derivative works from, publish, distribute and
sublicense the Feedback, and (iv) irrevocably waive, and cause to be
waived, against Discord and its users any claims and assertions of any
moral rights contained in such Feedback. This Feedback section shall
survive any termination of your account or the Services.
All rights in this section are granted without the need for additional
compensation of any sort to you.
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# THIRD-PARTY CONTENT

We use third-party services to help us provide the Service, but such use
does not indicate that we endorse them or are responsible or liable for
their actions. In addition, the Service may link to third-party websites
to facilitate its provision of services to you. If you use these links,
you will leave the Service. Please note that your use of such third-party
services will be governed by the terms and privacy policy applicable to
the corresponding third party. Some of these third-party websites may use
Service Materials under license from us. We are not responsible for nor
do we endorse these third-party websites or the organizations sponsoring
such third-party websites or their products or services, whether or not
we are affiliated with such third-party websites. You agree that we are
not responsible or liable for any loss or damage of any sort incurred as
a result of any such dealings you may have on or through a third-party
website or as a result of the presence of any third-party advertising on
the Service.

# USER DISPUTES

You are solely responsible for your interaction with other users of the
Service and other parties that you come in contact with through the
Service. The Company hereby disclaims any and all liability to you or any
third party relating to your use of the Service. The Company reserves the
right, but has no obligation, to manage disputes between you and other
users of the Service.

# COPYRIGHT

**Copyright Complaints**. The Company respects the intellectual property
of others, and we ask our users to do the same. If you believe that your
work has been copied in a way that constitutes copyright infringement, or
that your intellectual property rights have been otherwise violated, you
should notify the Company of your infringement claim in accordance with
the procedure set forth below. The Company will process and investigate
notices of alleged infringement and will take appropriate actions under
the Digital Millennium Copyright Act (“DMCA”) and other applicable
intellectual property laws with respect to any alleged or actual
infringement. A notification of claimed copyright infringement should be
emailed to the Company’s Copyright Agent at copyright@discordapp.com
(Subject line: “DMCA Takedown Request”). You may also contact us by mail
at: Discord, Attention: DMCA Takedown Request, 444 De Haro Street #200,
San Francisco, CA 94107.To be effective, the notification must be in
writing and contain the following information:

- an electronic or physical signature of the person authorized to act on
behalf of the owner of the copyright or other intellectual property
interest;
- a description of the copyrighted work or other intellectual property
that you claim has been infringed;
- a description of where the material that you claim is infringing is
located on the Service, with enough detail that we may find it on the
Service;
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- your address, telephone number, and email address;
- a statement by you that you have a good faith belief that the disputed
use is not authorized by the copyright or intellectual property owner,
its agent, or the law;
- a statement by you, made under penalty of perjury, that the above
information in your Notice is accurate and that you are the copyright or
intellectual property owner or authorized to act on the copyright or
intellectual property owner’s behalf.


If you submit a notice of infringement that knowingly materially
misrepresents that any Content, information, or communication on the
Services is infringing upon a copyright, you may be held liable for
damages and attorneys’ fees.

**Counter-Notice**. If you believe that Your Content that was removed (or
to which access was disabled) is not infringing, or that you have the
authorization from the copyright owner, the copyright owner’s agent, or
pursuant to the law, to upload and use the content in Your Content, you
may send a written counter-notice containing the following information to
the Copyright Agent:

- your physical or electronic signature;
- identification of the content that has been removed or to which access
has been disabled and the location at which the content appeared before
it was removed or disabled;
- a statement that you have a good faith belief that the content was
removed or disabled as a result of mistake or a misidentification of the
content; and
- your name, address, telephone number, and email address, a statement
that you consent to the jurisdiction of the federal court located within
the Northern District of California and a statement that you will accept
service of process from the person who provided notification of the
alleged infringement.


If a counter-notice is received by the Copyright Agent, the Company will
send a copy of the counter-notice to the original complaining party
informing that person that it may replace the removed content or cease
disabling it in 10 business days. Unless the copyright owner files an
action seeking a court order against the content provider, member or
user, the removed content may be replaced, or access to it restored, in
10 to 14 business days or more after receipt of the counter-notice, at
our sole discretion.

**Repeat Infringer Policy**. In accordance with the DMCA and other
applicable law, the Company has adopted a policy of terminating, in
appropriate circumstances and at the Company's sole discretion, users who
are deemed to be repeat infringers. The Company may also at its sole
discretion limit access to the Service and/or terminate the memberships
of any users who infringe any intellectual property rights of others,
whether or not there is any repeat infringement.

# TERMINATION
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You may terminate your Account at any time and for any reason by deleting
your account through the User Settings page in the application . The
Company may terminate your Account and your access to the Service (or, at
the Company's sole option, applicable portions of the Service) at any
time and for any reason. The Company is not required to provide you with
any notice or warning prior to any such termination. You may, as the
result of termination, lose your Account and all information and data
associated therewith, including without limitation your Virtual Currency
and Virtual Goods, as applicable, and the Company is under no obligation
to compensate you for any such loss.

# DISCLAIMER OF WARRANTY

THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" AND “AS
AVAILABLE” WITHOUT WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED,
INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY,
FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. YOUR USE
OF THE SERVICES IS AT YOUR SOLE RISK. IN ADDITION, WHILE THE COMPANY
ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
THE EXTENT PERMITTED BY APPLICABLE LAW.

# LIMITATION OF LIABILITY

TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.THE
COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A) THE
AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE
(3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A
CLAIM OR (B) $100. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO NOT
PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED UNDER
APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR CONSEQUENTIAL
DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND LIMITATIONS
MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S LIABILITY WILL BE
LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

You specifically acknowledge that the Company shall not be liable for
user content, including without limitation Your Content, or the
defamatory, offensive, or illegal conduct of any third party and that the
risk of harm or damage from the foregoing rests entirely with you.

# INDEMNIFICATION

You agree to indemnify and hold the Company, harmless from and against
any loss, liability, claim, demand, damages, costs and expenses,
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including reasonable attorney's fees, arising out of or in connection
with (i) your use of and access to the Service; (ii) your violation of
any term of these Terms; (iii) your violation of any third party right,
including without limitation any copyright, property, or privacy right or
any third party agreement; or (iv) any of Your Content or information in
your Account or any other information you post or share on or through the
Service. As used in this section, "you" shall include anyone accessing
the Service using your password

# VIRTUAL CURRENCIES, VIRTUAL GOODS, AND TERMS OF SALE

We will not charge you a fee to use the basic functionality of the
Service, but fees may be charged for certain products and services. For
additional terms regarding our Nitro subscription service, please see the
“Nitro Subscriptions” section below.

The Service may include an opportunity to obtain virtual currency
("Virtual Currency") or virtual goods ("Virtual Goods") that may require
you to pay a fee using legal tender (that is, "real money") to obtain the
Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
final and is not refundable, exchangeable, transferable, except in the
Company’s or the platform provider’s sole discretion. You may not
purchase, sell, or exchange Virtual Currency outside the Service. Doing
so is a violation of the Terms and may result in termination of your
Account with the Service and/or legal action. The Company retains the
right to modify, manage, control and/or eliminate Virtual Currency and/or
Virtual Goods at its sole discretion. Prices and availability of Virtual
Goods are subject to change without notice. We shall have no liability to
you or any third party for the exercise of such rights. You shall have a
limited, personal, non-transferable, non-sublicensable permission to use
solely within the Service Virtual Goods and Virtual Currency that you
have earned, purchased or otherwise obtained in a manner authorized by
the Company. You have no other right, title or interest in or to any such
Virtual Goods or Virtual Currency appearing or originating in the
Service.

**Product Descriptions**. We try to make the Service thorough, accurate,
and helpful to our customers. Nonetheless, there may be times when
certain information contained on the Service may be incorrect,
incomplete, or inaccurate, or appear inaccurate because of the browser,
hardware, software, or other technology that you use. Discord reserves
the right, with or without prior notice, to: change descriptions or
references to products and/or services; limit the available quantity of
any product or service; honor, or refuse to honor, any coupon, coupon
code, promotional code or other similar promotions; and/or refuse to
provide any visitor to, or use of the Service with any product or
service.

**Availability and Pricing**. Though we try to honor all purchase
requests, availability cannot always be guaranteed. When an item is not
available and cannot be replenished — for example, if we offer a limited
promotion — we will attempt to remove the item from the Service in a
timely manner but make no guarantees in this regard. We may occasionally
make errors in the stated prices on the Service. If a product’s correct
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price is higher than the listed price, we will either confirm that we’ll
provide the item at the price listed or cancel your order and notify you
of such cancellation.

**Payments**. We accept major credit cards, certain debit cards, PayPal,
and/or such other payment methods we may make available to you from time-
to-time through our Service, as forms of payment (“Payment Method”). We
may also offer you the ability to make orders through a third party app
store or other payment service. You agree to comply with their terms and
any other requirements they may have. By submitting an order, you
authorize Discord, or its designated payment processor, to charge the
account you specify for the purchase amount.

We may, in our sole discretion, cancel your payment at any time by
providing notice to you through your contact information or by a notice
when you attempt to make a payment. We may cancel a payment or prevent
you from initiating future payments for any reason, including, without
limitation, the following: (i) if you attempt to use the Service in
breach of any applicable law or regulation, including the card network
rules or regulations; (ii) if you use the Service in breach of these
Terms; (iii) if we suspect fraudulent, unlawful or improper activity
regarding a payment; (iv) if we detect, in our sole discretion, that your
payments have excessive disputes, high reversal rates or present a
relatively high risk of losses; or (v) failure to cooperate in an
investigation or provide additional information when requested.

**Refunds**. You can find our refund policy here:
https://support.discordapp.com/hc/en-us/articles/360012668071

**Taxes**. Stated prices may not include sales and use taxes. If they do
not, you are responsible for the payment of such taxes related to your
purchase. We have the right to charge you for any taxes that we are
required to pay or in fact collect related to your purchase.

**International Orders**. You will be solely responsible for any license
fees, customs duties, and other taxes and fees related to the export of
the products from the United States.

**Manufacturer EULAs and Other Terms**. You may be required to accept an
end user license agreement (EULA) or other terms provided by the
manufacturer prior to use of the product you ordered. A EULA or other
terms may accompany the product you ordered.

# NITRO SUBSCRIPTIONS

**Recurring Billing**. By purchasing a Nitro subscription, you authorize
us to charge your Payment Method on a recurring (e.g., monthly or yearly)
basis for the applicable Nitro subscription charge, any and all taxes or
possible transaction fees, and any other charges incurred in connection
with your use of the Nitro subscription service. Your payment to Discord
will automatically renew at the end of your applicable subscription
period, unless you cancel your subscription before the end of the current
subscription period.
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**Price Changes**. Discord may change the price for Nitro subscriptions
from time to time, and will communicate any price changes to you in
advance and, if applicable, how to accept those changes. Price changes
for Nitro subscriptions will take effect at the start of the next
subscription period following the date of the price change. As permitted
by local law, you accept the new price by continuing to use Nitro after
the price change takes effect. If you do not agree with the price
changes, you have the right to reject the change by unsubscribing from
Nitro prior to the price change going into effect. We don’t want to
charge you for something you don’t want, though, so if you cancel within
14 days of any price increases, we’ll provide you a refund.

**Cancellation**. You may cancel your Nitro subscription at any time, and
you will continue to have access to Nitro through the end of the current
subscription period. If you cancel your subscription before the end of
the current subscription period, we will not refund any subscription fees
already paid to us. At our sole discretion, however, we may provide a
refund, discount, or other consideration to some or all of our members
("credits"). The provision of credits in one instance does not entitle
you to credits in the future for similar instances, nor does it obligate
us to provide credits in the future, under any circumstance. To cancel,
go to the "User Settings" screen in the Discord desktop or mobile app and
follow the instructions for cancellation.

# DISPUTE RESOLUTION

PLEASE READ THIS SECTION CAREFULLY - IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.

You and Discord agree that these Terms affect interstate commerce and
that the Federal Arbitration Act governs the interpretation and
enforcement of these arbitration provisions.

Most disputes can be resolved without resorting to arbitration. In the
event of a dispute, you agree to provide us notice of the dispute. This
notice must provide a brief, written description of the dispute, the
relief requested and the contact information of the party giving it. You
must send any such notice to Discord by email to disputes@discord.com and
by U.S. Mail to Discord Inc., 444 De Haro Street #200, San Francisco, CA
94107.

The parties agree to use their best efforts to settle any dispute, claim,
question, or disagreement directly through consultation with one another,
and good faith negotiations shall be a condition to either party
initiating a lawsuit or arbitration.

Notwithstanding the foregoing, disputes concerning patents, copyrights,
moral rights, trademarks, and trade secrets and claims of piracy or
unauthorized use of the Site shall not be subject to arbitration, and the
notice and good faith negotiation required by this paragraph shall not
apply to these types of disputes.

Binding Arbitration. Except as provided herein, if we cannot resolve a
dispute informally, any dispute will be resolved only by binding
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arbitration to be held in the U.S. state in which you reside. For
residents outside the United States, arbitration shall be initiated in
San Francisco, California. Discord and you further agree to submit to the
personal jurisdiction of any state or federal court in San Francisco,
California to compel arbitration, stay proceedings pending arbitration,
or to confirm, modify, vacate, or enter judgment on the award entered by
the arbitrator.

The arbitration shall be conducted by a single arbitrator, governed by
the rules of JAMS that are in effect at the time the arbitration is
initiated (referred to as the “JAMS Rules”) and under the rules set forth
in these Terms. If there is a conflict between the JAMS Rules and the
rules set forth in these Terms, the rules set forth in these Terms will
govern. ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A JURY TRIAL. You
may, in arbitration, seek any and all remedies otherwise available to you
pursuant to your state’s law.

To the extent the filing fee for the arbitration exceeds the cost of
filing a lawsuit, Discord will pay the additional cost. Discord shall
also bear the cost of any arbitration fees, unless the arbitrator finds
your claims, defenses, or other fee-generating activity to be asserted or
conducted for an improper purpose or frivolous. You are responsible for
all other additional costs that you may incur in the arbitration
including, without limitation, attorney’s fees and expert witness costs
unless Discord is specifically required to pay such fees under applicable
law. The decision of the arbitrator will be in writing and binding and
conclusive on Discord and you, and judgment to enforce the decision may
be entered by any court of competent jurisdiction. Discord and you agree
that dispositive motions, including without limitation motions to dismiss
and motions for summary judgment, will be allowed in the arbitration. The
arbitrator must follow these Terms of Service and can award the same
damages and relief as a court, including injunctive or other equitable
relief and attorney’s fees. Discord and you understand that, absent this
mandatory arbitration provision, Discord and you would have the right to
sue in court and have a jury trial. Discord and you further understand
that, in some instances, the costs of arbitration could exceed the costs
of litigation and that the right to discovery may be more limited in
arbitration than in court.

If Discord’s or your claim is solely for monetary relief of $10,000 or
less and does not include a request for any type of equitable remedy, the
party bringing the claim may choose whether the arbitration of the claim
will be conducted, through a telephonic hearing, or by an in-person
hearing under the JAMS Rules, solely based on documents submitted to the
arbitrator.
You or Discord may choose to pursue a claim in small claims court where
jurisdiction and venue over you and Discord otherwise qualifies for such
small claims court and where the claim does not include a request for any
type of equitable relief. However, if you decide to pursue a claim in
small claims court, you agree to still provide Discord with advance
notice by email to disputes@discord.com and by U.S. Mail to Discord Inc.,
444 De Haro Street #200, San Francisco, CA 94107.
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**Opt-Out Right**. You have the right to opt out and not be bound by the
provisions requiring arbitration by sending written notice of your
decision to opt out to Discord by email to arbitration-opt-
out@discord.com. The notice must be sent within 30 days of this Terms of
Service taking effect, or your account creation on the Service. If you do
not opt out via this method, you will be bound to arbitrate disputes in
accordance with the terms of these paragraphs. If you opt out of the
provisions requiring arbitration, Discord will not be bound by them
either. If any clause within this Arbitration Section is found to be
illegal or unenforceable, that specific clause will be severed from this
section, and the remainder of its provisions will be given full force and
effect.

**Survival**. This Arbitration section shall survive any termination of
your account or the Service.

# CLASS WAIVER

PLEASE READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS.

Discord and you agree to resolve any dispute will be brought in an
individual capacity, and not on behalf of, or as part of, any purported
class, consolidated, or representative proceeding.
The arbitrator cannot combine more than one person’s or entity’s claims
into a single case, and cannot preside over any consolidated, class or
representative proceeding (unless we agree otherwise). And, the
arbitrator’s decision or award in one person’s or entity’s case can only
impact the person or entity that brought the claim, not other Discord
customers, and cannot be used to decide other disputes with other
customers.

If any court or arbitrator determines that the
class/consolidated/representative action waiver set forth in this section
is void or unenforceable for any reason or that arbitration can proceed
on a class, consolidated, or representative basis, then the disputes,
claims, or controversies will not be subject to arbitration and must be
litigated in federal court located in San Francisco, California.
This Class Action Waiver section shall survive any termination of your
account or the Services.

# INTERNATIONAL USE; EXPORT CONTROLS

Software available in connection with the Service and the transmission of
applicable data, if any, is subject to United States export controls. No
software may be downloaded from the Service or otherwise exported or re-
exported in violation of U.S. export laws. Downloading or using the
software is at your sole risk. Recognizing the global nature of the
Internet, you agree to comply with all local rules and laws regarding
your use of the Service, including as it concerns online conduct and
acceptable content.

# IOS APPLICATIONS
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The following additional terms and conditions apply with respect to any
App that the Company provides to you designed for use on an Apple iOS-
powered mobile device (an “iOS App”): - You acknowledge that these Terms
are between you and Discord only, and not with Apple, Inc. (“Apple”).

- Your use of the Company’s iOS App must comply with Apple’s then-current
App Store Terms of Service.
- The Company, and not Apple, are solely responsible for our iOS App and
the Services and Content available thereon. You acknowledge that Apple
has no obligation to provide maintenance and support services with
respect to our iOS App. To the maximum extent permitted by applicable
law, Apple will have no warranty obligation whatsoever with respect to
our iOS App.
- You agree that the Company, and not Apple, are responsible for
addressing any claims by you or any third-party relating to our iOS App
or your possession and/or use of our iOS App.
- You agree that the Company, and not Apple, shall be responsible, to the
extent required by these Terms, for the investigation, defense,
settlement and discharge of any third-party intellectual property
infringement claim related to our iOS App or your possession and use of
our iOS App.
- You represent and warrant that (i) you are not located in a country
that is subject to a U.S. Government embargo, or that has been designated
by the U.S. Government as a “terrorist supporting” country; and (ii) You
are not listed on any U.S. Government list of prohibited or restricted
parties.
- You agree to comply with all applicable third-party terms of agreement
when using our iOS App (e.g., you must not be in violation of your
wireless data service terms of agreement when using the iOS App).
- The parties agree that Apple and Apple’s subsidiaries are third-party
beneficiaries to these Terms as they relate to your license of the
Company’s iOS App. Upon your acceptance of these Terms, Apple will have
the right (and will be deemed to have accepted the right) to enforce
these Terms against you as they relate to your license of the iOS App as
a third-party beneficiary thereof.


# GENERAL

**Governing Law**. By visiting or using the Service, you agree that the
laws of the United States and the State of California, without regard to
principles of conflict of laws and regardless of your location, will
govern these Terms and any dispute of any sort that might arise between
you and the Company.

Any claim or dispute between you and the Company that arises out of or is
related to the Service and is not subject to arbitration shall be decided
exclusively by a court of competent jurisdiction located in San Francisco
County, California, and you hereby consent to, and waive all defenses of
lack of personal jurisdiction and forum non conveniens with respect to
venue and jurisdiction in the state and federal courts of Santa Clara
County, California.
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**Injunctive and Other Equitable Relief**. You acknowledge that the
rights granted and obligations made to the Company under these Terms are
of a unique and irreplaceable nature, the loss of which may result in
immediate and irreparable harm to the Company for which remedies at law
are inadequate. The Company shall therefore be entitled to seek
injunctive or other equitable relief (without the obligation to post any
bond or surety) in the event of any breach or anticipatory breach by you.
You irrevocably waive all rights to seek injunctive or other equitable
relief.

**Entire Agreement**. These Terms constitute the entire agreement between
you and the Company with respect to your use of the Service and any other
subject matter hereof and cannot be changed or modified by you except as
expressly posted on the Service by the Company. You also may be subject
to additional terms and conditions that may apply when you use affiliate
or third party services, third party content or third party software.

**Waiver**. The failure of the Company to exercise or enforce any right
or provision of these Terms shall not constitute a waiver of such right
or provision, and no waiver by either party of any breach or default
hereunder shall be deemed to be a waiver of any preceding or subsequent
breach or default.

**Severability**. If any provision of these Terms is found by a court of
competent jurisdiction to be invalid, the parties nevertheless agree that
the court should endeavor to give effect to the parties' intentions as
reflected in the provision, and the other provisions of these Terms shall
remain in full force and effect.

**Course of Conduct/Trade Practice**. Neither the course of conduct
between the parties nor trade practice will act to modify these Terms.

**Assignment**. These Terms may not be assigned by you without the
Company's prior written consent, but are freely assignable by the
Company. Subject to the foregoing restriction, these Terms will be
binding on, inure to, and enforceable against the parties and their
respective successors and assigns.

**Documentation of Compliance**. Upon the Company's request, you will
furnish the Company with any documentation, substantiation or releases
necessary to verify your compliance with these Terms.

**Interpretation**. You agree that these Terms will not be construed
against the Company by virtue of having drafted them.

**Defenses Based on Electronic Form of These Terms**. You hereby waive
any and all defenses you may have based on the electronic form of these
Terms and the lack of signing by the parties hereto to execute these
Terms.

**Survival**. You agree that the provisions of these Terms that by their
nature should survive termination will survive any termination of these
Terms.
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**Contact**. If you have any questions about these Terms, please contact
privacy@discord.com.

Discord is made possible through the work of other [open source
software](https://discordapp.com/acknowledgements).
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                         EXHIBIT G
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# Discord Terms of Service

Last modified: October 19, 2018.

IMPORTANT NOTICE: THESE TERMS OF SERVICE CONTAIN A BINDING ARBITRATION
PROVISION AND CLASS ACTION WAIVER. IT AFFECTS YOUR LEGAL RIGHTS AS
DETAILED IN THE DISPUTE RESOLUTION AND CLASS ACTION WAIVER SECTION BELOW.
PLEASE READ CAREFULLY.


# INTRODUCTION AND ACCEPTING THE TERMS

Welcome to Discord! These Terms of Service (“Terms”), which include and
hereby incorporate the Privacy Policy at https://discordapp.com/privacy
(“Privacy Policy”), are a legal agreement between Discord Inc. and its
related companies (the “Company,” “us,” “our,” or "we") and you ("you" or
“your”). By using or accessing the Discord application (the “App”) or the
website located at https://discordapp.com (the "Site"), which are
collectively referred to as the “Service,” you agree (i) that you are 13
years of age or older, (ii) if you are the age of majority in your
jurisdiction or over, that you have read, understood, and accept to be
bound by the Terms, and (iii) if you are between 13 and the age of
majority in your jurisdiction, that your legal guardian has reviewed and
agrees to these Terms.

The Company reserves the right to update these Terms, which we may do for
reasons that include, but are not limited to, complying with changes to
the law or reflecting enhancements to Discord. If the changes affect your
usage of Discord or your legal rights, we’ll notify you no less than
seven days before the changes take effect. Unless we state otherwise,
your continued use of the Service after we post modifications will
constitute your acceptance of and agreement to those changes. If you
object to the changes, your recourse shall be to cease using the Service.

# RIGHTS TO USE THE SERVICE

The Service provides a chat and social platform. The Service may allow
you to participate in public and private chat rooms and to utilize
messaging features to communicate with other users of the Service. The
Service may also allow you to access certain software and/or other
content that is available to purchase from the Company. Subject to your
compliance with these Terms, the Company grants you a limited, revocable,
non-exclusive, non-transferable, non-sublicensable license to use and
access the Service solely for your personal, non-commercial use, unless
we agree to your commercial use in writing. You agree not to (and not to
attempt to) (i) use the Service for any use or purpose other than as
expressly permitted by these Terms;(ii) copy, adapt, modify, prepare
derivative works based upon, distribute, license, sell, transfer,
publicly display, publicly perform, transmit, stream, broadcast, attempt
to discover any source code, reverse engineer, decompile, disassemble, or
otherwise exploit the Service or any portion of the Service, except as
expressly permitted in these Terms; or (iii) use data mining, robots,
spiders, or similar data gathering and extraction tools on the Service.
No licenses or rights are granted to you by implication or otherwise
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under any intellectual property rights owned or controlled by the Company
or its licensors, except for the permissions and rights expressly granted
in these Terms.

The Company reserves the right to modify or discontinue, temporarily or
permanently, the Service (or any part thereof) with or without notice.
The Company reserves the right to refuse any user access to the Services
without notice for any reason, including but not limited to a violation
of the Terms. If you violate these Terms, the Company reserves the right
to issue you a warning regarding the violation or immediately terminate
or suspend any or all Accounts you have created using the Service. You
agree that the Company need not provide you notice before terminating or
suspending your Account(s), but it may do so.

# YOUR ACCOUNT

You are responsible for your log-in credentials and for any activity
resulting from the use of your log-in credentials or other activity on
your account (“Account”) on the Service. Upon launching the App or the
Service, if you do not already have an Account, you will be prompted to
create one by providing a username and in some cases a password. You may
also be required to provide a valid email address or other information to
access or utilize certain applications or features. You represent and
warrant that the information you provide to us upon registration and at
all other times will be true, accurate, current, and complete. We reserve
the right to reject any username or to terminate your username or prevent
use of a username in our sole discretion, and without any liability to
you. You understand and agree that other users of the Service may have
the same username as you, however, users will be differentiated by a
number identifier that may or may not be visible to you or other users.
You will ensure that your e-mail address is kept accurate and up-to-date
at all times. If we allow you to use the App without creating an Account
(e.g., if we make available a single-session use feature), any username
you select for use in connection with the App will be available for other
users after your session ends. You are responsible for maintaining the
confidentiality of your log-in credentials and are fully responsible for
all activities that occur through the use of your credentials or
otherwise on your Account. You agree to notify us immediately if you
believe the confidentiality of your log-in credentials has been
compromised or if you suspect unauthorized use of your Account. You agree
that we will not be liable for any loss or damage arising from
unauthorized use of your credentials.

# COMMUNICATIONS

You agree to receive communications from us electronically, such as
email, text, or mobile push notices, or notices and messages on the
Service. For any direct marketing messages, we will ensure that we obtain
your consent first, and also make it easy for you to opt out — we don’t
want to send you messages you don’t want.

By using the Service or providing information to us, you agree that we
may communicate with you electronically regarding security, privacy, and
administrative issues relating to your use of the Service, and that all
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agreements, notices, disclosures, and other communications that Discord
provides to you electronically satisfy any legal requirements that such
communications be in writing.

You may use the Service to send messages to other users of the Service.
You agree that your use of the Service will not include sending
unsolicited marketing messages or broadcasts (i.e., spam). We may utilize
a variety of means to block spammers and abusers from using the Service.
If you believe spam originated from the Service, please email us
immediately at support@discordapp.com.

# INTELLECTUAL PROPERTY RIGHTS

All rights, title and interest in and to all materials that are part of
the Service (including, but not limited to, designs, text, graphics,
pictures, video, information, applications, software, music, sound and
other files, and their selection and arrangement), except for Your
Content, collectively referred to as the "Service Materials,” are, as
between the Company and you, owned by the Company and/or its third party
licensors. You acknowledge and agree that you shall not acquire any
ownership rights whatsoever by downloading Service Materials or by
purchasing any Virtual Currency or Virtual Goods (each as defined below).
You agree that you shall not modify, copy, distribute, frame, reproduce,
republish, download, scrape, display, post, transmit, or sell in any form
or by any means, in whole or in part, or otherwise exploit the Service
Materials without our express prior written permission. You acknowledge
that you do not acquire any ownership rights by using the Service or by
accessing any Service Materials posted on the Service by the Company, or
any derivative works thereof. All rights not expressly granted by these
Terms are reserved by the Company and its licensors, and no license is
granted hereunder by estoppel, implication or otherwise.

# YOUR CONTENT

Any data, text, graphics, photographs and their selection and
arrangement, and any other materials uploaded to the Service by you is
“Your Content.” You represent and warrant that Your Content is original
to you and that you exclusively own the rights to such content, including
the right to grant all of the rights and licenses in these Terms without
the Company incurring any third party obligations or liability arising
out of its exercise of such rights and licenses. All of Your Content is
your sole responsibility and the Company is not responsible for any
material that you upload, post, or otherwise make available. By
uploading, distributing, transmitting or otherwise using Your Content
with the Service, you grant to us a perpetual, nonexclusive,
transferable, royalty-free, sublicensable, and worldwide license to use,
host, reproduce, modify, adapt, publish, translate, create derivative
works from, distribute, perform, and display Your Content in connection
with operating and providing the Service. The Company does not guarantee
the accuracy, quality, or integrity of any user content posted. By using
the Service, you acknowledge and accept that you may be exposed to
material you find offensive or objectionable. You agree that the Company
will not under any circumstances be liable for any user content,
including, but not limited to, errors in any user content, or any loss or
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damage incurred by use of user content. The Company reserves the right to
remove and permanently delete Your Content from the Service with or
without notice for any reason or no reason. You may notify the Company of
any user content that you believe violates these Terms, or other
inappropriate user behavior, by emailing abuse@discordapp.com.

# RULES OF CONDUCT AND USAGE

The Service provides communication channels such as forums, communities,
or chat areas ("Communication Channels") designed to enable you to
communicate with other Service users. The Company has no obligation to
monitor these communication channels but it may do so in connection with
providing the Service. The Company may also terminate or suspend your
access to any Communication Channels at any time, without notice, for any
reason. You acknowledge that any user content (including without
limitation chats, postings, or materials posted by users) on the
Communication Channels is neither endorsed nor controlled by us. The
Company will not under any circumstances be liable for any activity
within Communication Channels. The Company is not responsible for
information that you choose to share on the Communication Channels, or
for the actions of other users. As a condition of your use of the
Service, and without limiting your other obligations under these Terms,
you agree to comply with the restrictions and rules of use set forth in
these Terms and our Community Guidelines as well as any additional
restrictions or rules (such as application-specific rules) set forth in
the Service. As an example, you agree not to use the Service in order to:

- post, upload, transmit or otherwise disseminate information that is
objectionable as outlined in our Community Guidelines;
- defame, libel, ridicule, mock, stalk, threaten, harass, intimidate or
abuse anyone;
- engage in conduct that is fraudulent or illegal or otherwise harmful to
Discord or any other user;
- upload or transmit (or attempt to upload or transmit) files that
contain viruses, Trojan horses, worms, time bombs, cancelbots, corrupted
files or data, or any other similar software or programs or engage in any
other activity that may damage the operation of the Service or other
users' computers;
- violate the contractual, personal, intellectual property or other
rights of any party including using, uploading, transmitting,
distributing, or otherwise making available any information made
available through the Service in any manner that infringes any copyright,
trademark, patent, trade secret, or other right of any party (including
rights of privacy or publicity);
- attempt to obtain passwords or other private information from other
members;
- improperly use support channels or complaint buttons to make false
reports to us;
- develop, distribute, or publicly inform other members of "auto"
software programs, "macro" software programs or other "cheat utility"
software program or applications in violation of the applicable license
agreements; or
- exploit, distribute or publicly inform other members of any game error,
miscue or bug which gives an unintended advantage; violate any applicable
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laws or regulations; or promote or encourage illegal activity including,
but not limited to, hacking, cracking or distribution of counterfeit
software, compromised accounts, or cheats or hacks for the Service.


These rules of use are not meant to be exhaustive, and we reserve the
right to determine what conduct we consider to be a violation of the
Terms, Community Guidelines or improper use of the Service and to take
action including termination of your Account and exclusion from further
participation in the Service.

# FEEDBACK

We appreciate hearing from our users and welcome your comments regarding
the Service. If you choose to provide feedback, comments or suggestions
for improvements to the Service or otherwise (in written or oral form)
(“Feedback”), you represent and warrant that (a) you have the right to
disclose the Feedback, (b) the Feedback does not violate the rights of
any other person or entity, and (c) your Feedback does not contain the
confidential or proprietary information of any third party or parties.

By sending us any Feedback, you further (i) agree that we are under no
obligation of confidentiality, express or implied, with respect to the
Feedback, (ii) acknowledge that we may have something similar to the
Feedback already under consideration or in development, (iii) grant us an
irrevocable, non-exclusive, royalty-free, perpetual, worldwide license to
use, modify, prepare derivative works from, publish, distribute and
sublicense the Feedback, and (iv) irrevocably waive, and cause to be
waived, against Discord and its users any claims and assertions of any
moral rights contained in such Feedback. This Feedback section shall
survive any termination of your account or the Services.

All rights in this section are granted without the need for additional
compensation of any sort to you.

# THIRD-PARTY CONTENT

We use third-party services to help us provide the Service, but such use
does not indicate that we endorse them or are responsible or liable for
their actions. In addition, the Service may link to third-party websites
to facilitate its provision of services to you. If you use these links,
you will leave the Service. Please note that your use of such third-party
services will be governed by the terms and privacy policy applicable to
the corresponding third party. Some of these third-party websites may use
Service Materials under license from us. We are not responsible for nor
do we endorse these third-party websites or the organizations sponsoring
such third-party websites or their products or services, whether or not
we are affiliated with such third-party websites. You agree that we are
not responsible or liable for any loss or damage of any sort incurred as
a result of any such dealings you may have on or through a third-party
website or as a result of the presence of any third-party advertising on
the Service.

# USER DISPUTES
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You are solely responsible for your interaction with other users of the
Service and other parties that you come in contact with through the
Service. The Company hereby disclaims any and all liability to you or any
third party relating to your use of the Service. The Company reserves the
right, but has no obligation, to manage disputes between you and other
users of the Service.

# COPYRIGHT

__Copyright Complaints__. The Company respects the intellectual property
of others, and we ask our users to do the same. If you believe that your
work has been copied in a way that constitutes copyright infringement, or
that your intellectual property rights have been otherwise violated, you
should notify the Company of your infringement claim in accordance with
the procedure set forth below. The Company will process and investigate
notices of alleged infringement and will take appropriate actions under
the Digital Millennium Copyright Act (“DMCA”) and other applicable
intellectual property laws with respect to any alleged or actual
infringement. A notification of claimed copyright infringement should be
emailed to the Company’s Copyright Agent at copyright@discordapp.com
(Subject line: “DMCA Takedown Request”). You may also contact us by mail
at: Discord, Attention: DMCA Takedown Request, 444 De Haro Street #200,
San Francisco, CA 94107.To be effective, the notification must be in
writing and contain the following information:

- an electronic or physical signature of the person authorized to act on
behalf of the owner of the copyright or other intellectual property
interest;
- a description of the copyrighted work or other intellectual property
that you claim has been infringed;
- a description of where the material that you claim is infringing is
located on the Service, with enough detail that we may find it on the
Service;
- your address, telephone number, and email address;
- a statement by you that you have a good faith belief that the disputed
use is not authorized by the copyright or intellectual property owner,
its agent, or the law;
- a statement by you, made under penalty of perjury, that the above
information in your Notice is accurate and that you are the copyright or
intellectual property owner or authorized to act on the copyright or
intellectual property owner’s behalf.


If you submit a notice of infringement that knowingly materially
misrepresents that any Content, information, or communication on the
Services is infringing upon a copyright, you may be held liable for
damages and attorneys’ fees.

__Counter-Notice__. If you believe that Your Content that was removed (or
to which access was disabled) is not infringing, or that you have the
authorization from the copyright owner, the copyright owner’s agent, or
pursuant to the law, to upload and use the content in Your Content, you
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may send a written counter-notice containing the following information to
the Copyright Agent:

- your physical or electronic signature;
- identification of the content that has been removed or to which access
has been disabled and the location at which the content appeared before
it was removed or disabled;
- a statement that you have a good faith belief that the content was
removed or disabled as a result of mistake or a misidentification of the
content; and
- your name, address, telephone number, and email address, a statement
that you consent to the jurisdiction of the federal court located within
the Northern District of California and a statement that you will accept
service of process from the person who provided notification of the
alleged infringement.


If a counter-notice is received by the Copyright Agent, the Company will
send a copy of the counter-notice to the original complaining party
informing that person that it may replace the removed content or cease
disabling it in 10 business days. Unless the copyright owner files an
action seeking a court order against the content provider, member or
user, the removed content may be replaced, or access to it restored, in
10 to 14 business days or more after receipt of the counter-notice, at
our sole discretion.

__Repeat Infringer Policy__. In accordance with the DMCA and other
applicable law, the Company has adopted a policy of terminating, in
appropriate circumstances and at the Company's sole discretion, users who
are deemed to be repeat infringers. The Company may also at its sole
discretion limit access to the Service and/or terminate the memberships
of any users who infringe any intellectual property rights of others,
whether or not there is any repeat infringement.

# TERMINATION

You may terminate your Account at any time and for any reason by deleting
your account through the User Settings page in the application . The
Company may terminate your Account and your access to the Service (or, at
the Company's sole option, applicable portions of the Service) at any
time and for any reason. The Company is not required to provide you with
any notice or warning prior to any such termination. You may, as the
result of termination, lose your Account and all information and data
associated therewith, including without limitation your Virtual Currency
and Virtual Goods, as applicable, and the Company is under no obligation
to compensate you for any such loss.

# DISCLAIMER OF WARRANTY

THE SERVICES AND THE SERVICE MATERIALS ARE PROVIDED "AS IS" AND “AS
AVAILABLE” WITHOUT WARRANTIES OF ANY KIND, EITHER EXPRESS OR IMPLIED,
INCLUDING, BUT NOT LIMITED TO, IMPLIED WARRANTIES OF MERCHANTABILITY,
FITNESS FOR A PARTICULAR PURPOSE, TITLE, AND NON-INFRINGEMENT. YOUR USE
OF THE SERVICES IS AT YOUR SOLE RISK. IN ADDITION, WHILE THE COMPANY
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ATTEMPTS TO PROVIDE A GOOD USER EXPERIENCE, WE CANNOT AND DO NOT
REPRESENT OR WARRANT THAT THE SERVICES WILL ALWAYS BE SECURE OR ERROR-
FREE OR THAT THE SERVICES WILL ALWAYS FUNCTION WITHOUT DELAYS,
DISRUPTIONS, OR IMPERFECTIONS. THE FOREGOING DISCLAIMERS SHALL APPLY TO
THE EXTENT PERMITTED BY APPLICABLE LAW.

# LIMITATION OF LIABILITY

TO THE MAXIMUM EXTENT PERMITTED BY LAW, IN NO EVENT WILL THE COMPANY, BE
LIABLE TO YOU OR TO ANY THIRD PERSON FOR ANY CONSEQUENTIAL, INCIDENTAL,
SPECIAL, PUNITIVE OR OTHER INDIRECT DAMAGES, INCLUDING ANY LOST PROFITS
OR LOST DATA, ARISING FROM YOUR USE OF THE SERVICE OR OTHER MATERIALS ON,
ACCESSED THROUGH OR DOWNLOADED FROM THE SERVICE, WHETHER BASED ON
WARRANTY, CONTRACT, TORT, OR ANY OTHER LEGAL THEORY, AND WHETHER OR NOT
THE COMPANY HAS BEEN ADVISED OF THE POSSIBILITY OF THESE DAMAGES.THE
COMPANY SHALL NOT BE LIABLE TO YOU FOR MORE THAN THE GREATER OF (A) THE
AMOUNT YOU HAVE PAID TO US IN ACCORDANCE WITH THESE TERMS IN THE THREE
(3) MONTHS IMMEDIATELY PRECEDING THE DATE ON WHICH YOU FIRST ASSERT A
CLAIM OR (B) $100. THE LIMITATIONS AND DISCLAIMERS IN THESE TERMS DO NOT
PURPORT TO LIMIT LIABILITY OR ALTER RIGHTS THAT CANNOT BE EXCLUDED UNDER
APPLICABLE LAW. SOME JURISDICTIONS DO NOT ALLOW THE EXCLUSION OF IMPLIED
WARRANTIES OR LIMITATION OF LIABILITY FOR INCIDENTAL OR CONSEQUENTIAL
DAMAGES, WHICH MEANS THAT SOME OF THE ABOVE DISCLAIMERS AND LIMITATIONS
MAY NOT APPLY TO YOU. IN THESE JURISDICTIONS, DISCORD’S LIABILITY WILL BE
LIMITED TO THE GREATEST EXTENT PERMITTED BY LAW.

You specifically acknowledge that the Company shall not be liable for
user content, including without limitation Your Content, or the
defamatory, offensive, or illegal conduct of any third party and that the
risk of harm or damage from the foregoing rests entirely with you.

# INDEMNIFICATION

You agree to indemnify and hold the Company, harmless from and against
any loss, liability, claim, demand, damages, costs and expenses,
including reasonable attorney's fees, arising out of or in connection
with (i) your use of and access to the Service; (ii) your violation of
any term of these Terms; (iii) your violation of any third party right,
including without limitation any copyright, property, or privacy right or
any third party agreement; or (iv) any of Your Content or information in
your Account or any other information you post or share on or through the
Service. As used in this section, "you" shall include anyone accessing
the Service using your password

# VIRTUAL CURRENCIES, VIRTUAL GOODS, AND TERMS OF SALE

We will not charge you a fee to use the basic functionality of the
Service, but fees may be charged for certain products and services. For
additional terms regarding our Nitro subscription service, please see the
“Nitro Subscriptions” section below.

The Service may include an opportunity to obtain virtual currency
("Virtual Currency") or virtual goods ("Virtual Goods") that may require
you to pay a fee using legal tender (that is, "real money") to obtain the
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Virtual Currency or Virtual Goods. Your purchase of Virtual Currency is
final and is not refundable, exchangeable, transferable, except in the
Company’s or the platform provider’s sole discretion. You may not
purchase, sell, or exchange Virtual Currency outside the Service. Doing
so is a violation of the Terms and may result in termination of your
Account with the Service and/or legal action. The Company retains the
right to modify, manage, control and/or eliminate Virtual Currency and/or
Virtual Goods at its sole discretion. Prices and availability of Virtual
Goods are subject to change without notice. We shall have no liability to
you or any third party for the exercise of such rights. You shall have a
limited, personal, non-transferable, non-sublicensable permission to use
solely within the Service Virtual Goods and Virtual Currency that you
have earned, purchased or otherwise obtained in a manner authorized by
the Company. You have no other right, title or interest in or to any such
Virtual Goods or Virtual Currency appearing or originating in the
Service.

__Product Descriptions__. We try to make the Service thorough, accurate,
and helpful to our customers. Nonetheless, there may be times when
certain information contained on the Service may be incorrect,
incomplete, or inaccurate, or appear inaccurate because of the browser,
hardware, software, or other technology that you use. Discord reserves
the right, with or without prior notice, to: change descriptions or
references to products and/or services; limit the available quantity of
any product or service; honor, or refuse to honor, any coupon, coupon
code, promotional code or other similar promotions; and/or refuse to
provide any visitor to, or use of the Service with any product or
service.

__Availability and Pricing__. Though we try to honor all purchase
requests, availability cannot always be guaranteed. When an item is not
available and cannot be replenished — for example, if we offer a limited
promotion — we will attempt to remove the item from the Service in a
timely manner but make no guarantees in this regard. We may occasionally
make errors in the stated prices on the Service. If a product’s correct
price is higher than the listed price, we will either confirm that we’ll
provide the item at the price listed or cancel your order and notify you
of such cancellation.

__Payments__. We accept major credit cards, certain debit cards, PayPal,
and/or such other payment methods we may make available to you from time-
to-time through our Service, as forms of payment (“Payment Method”). We
may also offer you the ability to make orders through a third party app
store or other payment service. You agree to comply with their terms and
any other requirements they may have. By submitting an order, you
authorize Discord, or its designated payment processor, to charge the
account you specify for the purchase amount.

We may, in our sole discretion, cancel your payment at any time by
providing notice to you through your contact information or by a notice
when you attempt to make a payment. We may cancel a payment or prevent
you from initiating future payments for any reason, including, without
limitation, the following: (i) if you attempt to use the Service in
breach of any applicable law or regulation, including the card network
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rules or regulations; (ii) if you use the Service in breach of these
Terms; (iii) if we suspect fraudulent, unlawful or improper activity
regarding a payment; (iv) if we detect, in our sole discretion, that your
payments have excessive disputes, high reversal rates or present a
relatively high risk of losses; or (v) failure to cooperate in an
investigation or provide additional information when requested.

__Refunds__. You can find our refund policy here:
https://support.discordapp.com/hc/en-us/articles/360012668071

__Taxes__. Stated prices may not include sales and use taxes. If they do
not, you are responsible for the payment of such taxes related to your
purchase. We have the right to charge you for any taxes that we are
required to pay or in fact collect related to your purchase.

__International Orders__. You will be solely responsible for any license
fees, customs duties, and other taxes and fees related to the export of
the products from the United States.

__Manufacturer EULAs and Other Terms__. You may be required to accept an
end user license agreement (EULA) or other terms provided by the
manufacturer prior to use of the product you ordered. A EULA or other
terms may accompany the product you ordered.

# NITRO SUBSCRIPTIONS

__Recurring Billing__. By purchasing a Nitro subscription, you authorize
us to charge your Payment Method on a recurring (e.g., monthly or yearly)
basis for the applicable Nitro subscription charge, any and all taxes or
possible transaction fees, and any other charges incurred in connection
with your use of the Nitro subscription service. Your payment to Discord
will automatically renew at the end of your applicable subscription
period, unless you cancel your subscription before the end of the current
subscription period.

__Price Changes__. Discord may change the price for Nitro subscriptions
from time to time, and will communicate any price changes to you in
advance and, if applicable, how to accept those changes. Price changes
for Nitro subscriptions will take effect at the start of the next
subscription period following the date of the price change. As permitted
by local law, you accept the new price by continuing to use Nitro after
the price change takes effect. If you do not agree with the price
changes, you have the right to reject the change by unsubscribing from
Nitro prior to the price change going into effect. We don’t want to
charge you for something you don’t want, though, so if you cancel within
14 days of any price increases, we’ll provide you a refund.

__Cancellation__. You may cancel your Nitro subscription at any time, and
you will continue to have access to Nitro through the end of the current
subscription period. If you cancel your subscription before the end of
the current subscription period, we will not refund any subscription fees
already paid to us. At our sole discretion, however, we may provide a
refund, discount, or other consideration to some or all of our members
("credits"). The provision of credits in one instance does not entitle
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you to credits in the future for similar instances, nor does it obligate
us to provide credits in the future, under any circumstance. To cancel,
go to the "User Settings" screen in the Discord desktop or mobile app and
follow the instructions for cancellation.

# DISPUTE RESOLUTION

THIS SECTION AND THE NEXT SECTION ONLY APPLIES TO YOU IF YOU ARE A UNITED
STATES RESIDENT.

PLEASE READ THIS SECTION CAREFULLY - IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS, INCLUDING YOUR RIGHT TO FILE A LAWSUIT IN COURT.

You and Discord agree that these Terms affect interstate commerce and
that the Federal Arbitration Act governs the interpretation and
enforcement of these arbitration provisions.

Most disputes can be resolved without resorting to arbitration. In the
event of a dispute, you agree to provide us notice of the dispute. This
notice must provide a brief, written description of the dispute, the
relief requested and the contact information of the party giving it. You
must send any such notice to Discord by email to disputes@discord.com and
by U.S. Mail to Discord Inc., 444 De Haro Street #200, San Francisco, CA
94107.

The parties agree to use their best efforts to settle any dispute, claim,
question, or disagreement directly through consultation with one another,
and good faith negotiations shall be a condition to either party
initiating a lawsuit or arbitration.

Notwithstanding the foregoing, disputes concerning patents, copyrights,
moral rights, trademarks, and trade secrets and claims of piracy or
unauthorized use of the Site shall not be subject to arbitration, and the
notice and good faith negotiation required by this paragraph shall not
apply to these types of disputes.

Binding Arbitration. Except as provided herein, if we cannot resolve a
dispute informally, any dispute will be resolved only by binding
arbitration to be held in the U.S. state in which you reside. For
residents outside the United States, arbitration shall be initiated in
San Francisco, California. Discord and you further agree to submit to the
personal jurisdiction of any state or federal court in San Francisco,
California to compel arbitration, stay proceedings pending arbitration,
or to confirm, modify, vacate, or enter judgment on the award entered by
the arbitrator.

The arbitration shall be conducted by a single arbitrator, governed by
the rules of JAMS that are in effect at the time the arbitration is
initiated (referred to as the “JAMS Rules”) and under the rules set forth
in these Terms. If there is a conflict between the JAMS Rules and the
rules set forth in these Terms, the rules set forth in these Terms will
govern. ARBITRATION MEANS THAT YOU WAIVE YOUR RIGHT TO A JURY TRIAL. You
may, in arbitration, seek any and all remedies otherwise available to you
pursuant to your state’s law.
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To the extent the filing fee for the arbitration exceeds the cost of
filing a lawsuit, Discord will pay the additional cost. Discord shall
also bear the cost of any arbitration fees, unless the arbitrator finds
your claims, defenses, or other fee-generating activity to be asserted or
conducted for an improper purpose or frivolous. You are responsible for
all other additional costs that you may incur in the arbitration
including, without limitation, attorney’s fees and expert witness costs
unless Discord is specifically required to pay such fees under applicable
law. The decision of the arbitrator will be in writing and binding and
conclusive on Discord and you, and judgment to enforce the decision may
be entered by any court of competent jurisdiction. Discord and you agree
that dispositive motions, including without limitation motions to dismiss
and motions for summary judgment, will be allowed in the arbitration. The
arbitrator must follow these Terms of Service and can award the same
damages and relief as a court, including injunctive or other equitable
relief and attorney’s fees. Discord and you understand that, absent this
mandatory arbitration provision, Discord and you would have the right to
sue in court and have a jury trial. Discord and you further understand
that, in some instances, the costs of arbitration could exceed the costs
of litigation and that the right to discovery may be more limited in
arbitration than in court.

If Discord’s or your claim is solely for monetary relief of $10,000 or
less and does not include a request for any type of equitable remedy, the
party bringing the claim may choose whether the arbitration of the claim
will be conducted, through a telephonic hearing, or by an in-person
hearing under the JAMS Rules, solely based on documents submitted to the
arbitrator.

You or Discord may choose to pursue a claim in small claims court where
jurisdiction and venue over you and Discord otherwise qualifies for such
small claims court and where the claim does not include a request for any
type of equitable relief. However, if you decide to pursue a claim in
small claims court, you agree to still provide Discord with advance
notice by email to disputes@discord.com and by U.S. Mail to Discord Inc.,
444 De Haro Street #200, San Francisco, CA 94107.

__Opt-Out Right__. You have the right to opt out and not be bound by the
provisions requiring arbitration by sending written notice of your
decision to opt out to Discord by email to arbitration-opt-
out@discord.com. The notice must be sent within 90 days of this Terms of
Service taking effect, or your account creation on the Service. If you do
not opt out via this method, you will be bound to arbitrate disputes in
accordance with the terms of these paragraphs. If you opt out of the
provisions requiring arbitration, Discord will not be bound by them
either. If any clause within this Arbitration Section is found to be
illegal or unenforceable, that specific clause will be severed from this
section, and the remainder of its provisions will be given full force and
effect.

__Survival__. This Arbitration section shall survive any termination of
your account or the Service.
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# CLASS WAIVER

THIS SECTION AND THE PREVIOUS SECTION ONLY APPLIES TO YOU IF YOU ARE A
UNITED STATES RESIDENT.

PLEASE READ THIS SECTION CAREFULLY. IT MAY SIGNIFICANTLY AFFECT YOUR
LEGAL RIGHTS.

Discord and you agree to resolve any dispute in an individual capacity,
and not on behalf of, or as part of, any purported class, consolidated,
or representative proceeding.

The arbitrator cannot combine more than one person’s or entity’s claims
into a single case, and cannot preside over any consolidated, class or
representative proceeding (unless we agree otherwise). And, the
arbitrator’s decision or award in one person’s or entity’s case can only
impact the person or entity that brought the claim, not other Discord
customers, and cannot be used to decide other disputes with other
customers.

If any court or arbitrator determines that the
class/consolidated/representative action waiver set forth in this section
is void or unenforceable for any reason or that arbitration can proceed
on a class, consolidated, or representative basis, then the disputes,
claims, or controversies will not be subject to arbitration and must be
litigated in federal court located in San Francisco, California.

This Class Action Waiver section shall survive any termination of your
account or the Services.

# INTERNATIONAL USE; EXPORT CONTROLS

Software available in connection with the Service and the transmission of
applicable data, if any, is subject to United States export controls. No
software may be downloaded from the Service or otherwise exported or re-
exported in violation of U.S. export laws. Downloading or using the
software is at your sole risk. Recognizing the global nature of the
Internet, you agree to comply with all local rules and laws regarding
your use of the Service, including as it concerns online conduct and
acceptable content.

# IOS APPLICATIONS

The following additional terms and conditions apply with respect to any
App that the Company provides to you designed for use on an Apple iOS-
powered mobile device (an “iOS App”):

- You acknowledge that these Terms are between you and Discord only, and
not with Apple, Inc. (“Apple”).
- Your use of the Company’s iOS App must comply with Apple’s then-current
App Store Terms of Service.
- The Company, and not Apple, are solely responsible for our iOS App and
the Services and Content available thereon. You acknowledge that Apple
has no obligation to provide maintenance and support services with
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respect to our iOS App. To the maximum extent permitted by applicable
law, Apple will have no warranty obligation whatsoever with respect to
our iOS App.
- You agree that the Company, and not Apple, are responsible for
addressing any claims by you or any third-party relating to our iOS App
or your possession and/or use of our iOS App.
- You agree that the Company, and not Apple, shall be responsible, to the
extent required by these Terms, for the investigation, defense,
settlement and discharge of any third-party intellectual property
infringement claim related to our iOS App or your possession and use of
our iOS App.
- You represent and warrant that (i) you are not located in a country
that is subject to a U.S. Government embargo, or that has been designated
by the U.S. Government as a “terrorist supporting” country; and (ii) You
are not listed on any U.S. Government list of prohibited or restricted
parties.
- You agree to comply with all applicable third-party terms of agreement
when using our iOS App (e.g., you must not be in violation of your
wireless data service terms of agreement when using the iOS App).
- The parties agree that Apple and Apple’s subsidiaries are third-party
beneficiaries to these Terms as they relate to your license of the
Company’s iOS App. Upon your acceptance of these Terms, Apple will have
the right (and will be deemed to have accepted the right) to enforce
these Terms against you as they relate to your license of the iOS App as
a third-party beneficiary thereof.


# GENERAL

__Governing Law__. By visiting or using the Service, you agree that the
laws of the United States and the State of California, without regard to
principles of conflict of laws and regardless of your location, will
govern these Terms and any dispute of any sort that might arise between
you and the Company.

Any claim or dispute between you and the Company that arises out of or is
related to the Service and is not subject to arbitration shall be decided
exclusively by a court of competent jurisdiction located in San Francisco
County, California, and you hereby consent to, and waive all defenses of
lack of personal jurisdiction and forum non conveniens with respect to
venue and jurisdiction in the state and federal courts of Santa Clara
County, California.

__Injunctive and Other Equitable Relief__. You acknowledge that the
rights granted and obligations made to the Company under these Terms are
of a unique and irreplaceable nature, the loss of which may result in
immediate and irreparable harm to the Company for which remedies at law
are inadequate. The Company shall therefore be entitled to seek
injunctive or other equitable relief (without the obligation to post any
bond or surety) in the event of any breach or anticipatory breach by you.
You irrevocably waive all rights to seek injunctive or other equitable
relief.
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__Entire Agreement__. These Terms constitute the entire agreement between
you and the Company with respect to your use of the Service and any other
subject matter hereof and cannot be changed or modified by you except as
expressly posted on the Service by the Company. You also may be subject
to additional terms and conditions that may apply when you use affiliate
or third party services, third party content or third party software.

__Waiver__. The failure of the Company to exercise or enforce any right
or provision of these Terms shall not constitute a waiver of such right
or provision, and no waiver by either party of any breach or default
hereunder shall be deemed to be a waiver of any preceding or subsequent
breach or default.

__Severability__. If any provision of these Terms is found by a court of
competent jurisdiction to be invalid, the parties nevertheless agree that
the court should endeavor to give effect to the parties' intentions as
reflected in the provision, and the other provisions of these Terms shall
remain in full force and effect.

__Course of Conduct/Trade Practice__. Neither the course of conduct
between the parties nor trade practice will act to modify these Terms.

__Assignment__. These Terms may not be assigned by you without the
Company's prior written consent, but are freely assignable by the
Company. Subject to the foregoing restriction, these Terms will be
binding on, inure to, and enforceable against the parties and their
respective successors and assigns.

__Documentation of Compliance__. Upon the Company's request, you will
furnish the Company with any documentation, substantiation or releases
necessary to verify your compliance with these Terms.

__Interpretation__. You agree that these Terms will not be construed
against the Company by virtue of having drafted them.

__Defenses Based on Electronic Form of These Terms__. You hereby waive
any and all defenses you may have based on the electronic form of these
Terms and the lack of signing by the parties hereto to execute these
Terms.

__Survival__. You agree that the provisions of these Terms that by their
nature should survive termination will survive any termination of these
Terms.

__Contact__. If you have any questions about these Terms, please contact
privacy@discord.com.

Discord is made possible through the work of other [open source
software](https://discordapp.com/acknowledgements).
